Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 1 of 72 PageID #:1977



                                                                                ti,:fi,?
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                 EASTERN DIVISION
                                                                            crlfirYUlG.oBrHEyE8ilr,
Protect Our Parks, Inc., Charlotte   Adelman,   )
Maria Valencia, and Jeremiah   Jurevis,         )
                                                )
                              Plaintiffs, )         Case   No. l8-cv-3424
                                                )
v.                                              )   Honorable John Robert BlakeY
                                                )
Chicago Park District and City of    Chicago,   )
                                                )
                              Defendants.       )




MOTION FOR LEAVE BY THE CULTURAL LAI\IDSCAPE FOI]NDATION TO FILE A
   BRIEF AS AMICUS CURIAE IN SUPPORT OF PLAINTIF'FS' OPPOSITION TO
 DEFEIIDAI\TS' MOTION TO DISMISS OR FOR JT]DGMENT ON THE PLEADINGS
                            (wrrH
                            \     DEFENDAxTS' coNsENT)




                                           Charles Birnbaum, FASLA, FAAR
                                           President and CEO
                                           THE CULTURAL LANDSCAPE FOUNDATION
                                           1711 Connecticut Avenue NW, Suite 200
                                           Washington, DC 20009
                                           202-483-0553
                                                                                         t\t
                                                                                         G'
                                           Pro Se                                        i&
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                                                                                       o
   Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 2 of 72 PageID #:1978




                   CORT'ORATE DISCI,OSIINE STAIEMENT AI{I)
                  NOTIFICATION OT PIIBI,ICLY HELD AtrTIIJATES

       ,lnicus arioe certifies tlut it is a non-profit corporation orgnnired   tdcr   26 U.S.C.   $

501(c[3), has no pareff corporation, docs trot is   stoch ard hac rc publicly hcld afflides.
  Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 3 of 72 PageID #:1979



       The Cultural Landscape Foundation respectl'ully requests leave to file the accompanying

anicus curi*e brief attached as Exhibit A in opposition      tr the motion to dismiss or for judgment
on the pleadings by Ilefendants Cify of Chicago and Chicago Park District. Information

regarding The Cultural Landscape Foundation is attached as part of the appendix to the brief.

Plaintiffs do not oppose this motion and eonsent to smicus curiae liling their brief. The rnotion

should be granted for the following reasons:

       1.      As &e various *mici ewriae noted in their various submissions in support of the

Defendant City   of   Chicagc and The Chicago Park District's moticn              to   dismiss Plaintiffs

complaint, the Court has broad discretion to permit the filing of an amicus curiae brief "when the

amicus has a* interest   ... thal may   be affected by the decision   in the present case" or "when tlre

amicus has unique intbrrnation or perspective that can help the caurt beyond the help that the

lawyers fcr the parties are able to provide." (See, e.g. $ocket No. 61, ivlotion for Leave to File

By Eleven Museums In Parks, !l     l)
       2.      This Court granted leave to three groups of amici cur*ie, including                  eleven

Museums in the Parks who pr*vided their $upport to the Defendants' rnotion and far the CIPC to

become the twelfth museum      in the prrk because it is substantially similar in form to the *ther

eleven museums relative to its piaeemsnt and related arramgements for          operatian. (See Doaket

No. 64) Consistent with the aliow'ance of these amici, the Court shauld exercise its discretion

and permit Ths Cultural l^andscape Foundation to subrnit &e attached amicus             in supporl of the

Plaintiffs' opposition to the Defendants' motion and various arnid filed in support thereof.

       3.      Amicus curiae has strong interests in the case in the same fashion that other amici

have exhibited, and meet both bases for      liling   an amiew curiae   brief. As to the first   basis, the

Cultural Landscape Foundation has for the last twenty years devoted itself to educate and engage
   Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 4 of 72 PageID #:1980



in the public to make our shared lanclscape heritage rnore visible, idenlily its value. and empower

its stewards. I'horough such ef-fofis, the Cultural l,anclscape Foundaticln is very interested in ancl

las lollorved both the development ol'rruseuns in parks         zrs   well as presidential museums across

the l.Jnitecl States as paft of its nrission. As to the separate second criteria, the history and work

done by the Cultural Landscape Foundation gives           it    unique knowledge and perspectives in

regards   to landscapes generally, placement of museums in landscapes and specifically               issues


associated with Olmstead landscapes in Chicago and around the country.

          4.    The Cultural Landscape Foundation agrees with Plaintiffs that Plaintiffs' claims

should not be dismissed. Amicus curiaet proposed brief does not duplicate the arguments made

                                                                                judgment on the
by Plaintiffs as why the Court should deny the Defendants' motion to dismiss or

pleadings. Instead, the propos ed amicus curiae brief provides the Court various details and

context that responds to other amici briefs but that have not been discussed and which further

support denial of the Defendants' motion.

          5.    No party or counsel for a party authored this brief in whole or in part, and no

person other than amicus curiae or its counsel contributed any money to fund its preparation or

submission. The amicus curiae is not a subsidiary or affiliate of any publicly owned corporation'

          6.     This motion and attached brief are timely, as it is filed "not later than 7 days after

the principal brief of the party being supported is   filed."   See Fed. R.   App.   P   .29(a)(6)

          7.     No party would be prejudiced by the filing of this amicus curiae brief. Counsel

for plaintiff has consented to the   filing.   Counsel for the Defendants have also provided their

consent to the submission of this amicus brief.

          For the foregoing reasons, the Cultural Landscape Foundation's motion for leave should

be granted, and the amicus curiae brief attached as Exhibit       A should be filed.
  Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 5 of 72 PageID #:1981




Datcd: January   lt,2019            Rpryectfully subnitte{

                                    TTIE CI,JLTT.'RAL   tA}IDSCAPE FOTJI{DATION




                                                 Its Pr€sideot


                                    Charles Bimhm, FAST      A   FAAR
                                    Presideot and CEO
                                    T}IE CIJLTI,'RAL I*AI{DSCAPE FOI.JNDATION
                                    171I Connccticut Arrcnrr NW, Suite 200
                                    Wa$ington, DC 2flm9
                                    2024834553

                                    Pro   &
Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 6 of 72 PageID #:1982




                        EXHIBIT A
     Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 7 of 72 PageID #:1983



                      IN THE I.]NITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                  EASTERN DIVISION

Protect Our Parks, Inc., Charlotte Adelman,
Maria Valencia, and Jeremiah Jurevis,

                             Plaintiffs,               Case   No. I8-cv-3424

v.                                                     Honorable John Robert Blakey

Chicago Park District and City of Chicago,

                             Defendants.




 BRIEF' OF THE CULTURAL LANDSCAPE FOUNDATION AS AMICUS CARIAEIN
   SUPPORT OF PLAINTIFFS' OPPOSITION TO DEF'ENDANTS' MOTION TO
             DISMISS OR FOR JUDGMENT ON THE PLEADINGS




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      Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 8 of 72 PageID #:1984


      BRItrF OF THE CULTURAL LANDSCAPE FOUNDATION AS AMICUS CURIAE
       IN OPPOSITION TO THE DEFENDANTS' MOTION TO DISMISS THE CASE



                                              INTE RE ST OF',4MICUS CUNII E


          Established in I998, T'he Cultural Landscape Foundation (TCLF) is a national non-prolit

 organization based in Washington. D.C.. whose dual rnission is to educate the public about

 significant cr.rltural landscapes and to advocate fbr their intbrmed stewardship. As such, TCI,F

 maintains the tration's most comprehensive database of'cultural lanclscapes arrcl their clesigners,                                 a

 vast repository ofvetted historical essays, images, ancl related content. and publislres guidebooks

 and scholarly volumes in the field of landscape studies.l                      l'CLl-'also provides technical

 assistance, offers free tours, hosts major o<lnferences                   an<J   syrrposia. produces vicJeo oral

 histories. and creates traveling exhibitions. Moreover, TCLF is a recognized authority on the

 Secretar"v o/'the     Inlerirtr's Stondard.;./br the Treatment of'Historic Pltpertie,s, with Guitlelines

,frn" the Treatment       ol'Cultural Landsc,altes2           and   frequently submits testinrony to municipal

 governments on the proper ster.vardship of historic landscapes. Tlre organiz.ation also routinely

 serves as a consttlting party to l'ederal-level reviews uncler the National l-listoric Preservation
                                                                                                                                 Act
and tlre National E,nvironmerrtal Policy Act and is currently actirrg in that capacity rvith regard
                                                                                                    to

the reviews now underway fbr.lackson Park in Chicago.                          Illinois, the site of the proposed Obama

 Presidential Center (OPC).

 rA partial list of publications produced
                                          under       the auspices o1'TCI,F includes Shctping the pt,hyar Lc,ttlscape: Neu,
  Prttfiles"fi"om the Pioneer,s ttf Antericttn l-and.scape De.sign Profect (2018); Mellon Si1t,are, Di,scor:ering
                                                                                                                         u lvloclern
 Mustertrtiece (2014)l Latrrenc'e Halprin's Srvaline Purk12012); Shaping the Americai Latulsc.ape:
                                                                                                                   nuev proJiles.fi.6nr
 the Pioneers rtf Americ'an Lancl,scalrc Design Pro.iect (2009): Designriitl, (-.'ultrrn; Ctaiming
                                                                                                            itnericu,.t Luntlsc:crpe
 l"leritage (2005): Presen'ing Moclern Londscupe Ar<"hitecture lt: Making Po.ytu;ar Lttnclscapes
                                                                                                               Visible 120041;
 Pioneers of'Americun Lctndscope Design (2000); and Presen,ittg Moclern Landscctpe
                                                                                                   Architecttrrei: l>roceetlings
^fi'om the Wctve Hill Conlbrence ( I 999).
2
   Fornterly the coorclinator of the Natiorral Park Service's Ilistoric Landscape lnitiative. 'l'CL!:,s fbunder, president.
and CEo, Charles A' Birnbaum. FASI-A. FAAR, was a ct'r-author of the Secretary,<tf
                                                                                                    the lnrerior's Standarl,s/tst.the
 Treatmenl tsf Historic' Pr<ryterties, v'ith Guitleline,g/or tlte Treatruent of ('ulturttl l.unil,sca1.,es.
                                                                                                            Mr. Birnbaurn,s lull
resunle is included here as Appendix l.
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                                                      ARGUMENT


          Various organizations and groups have submitted briefs asAmici Curiae
                                                                                in support ofthe

  Defbndants'claims and lnotion to dismiss. Although certain of those
                                                                      briefs purport,,to provide
  the Court important context" about the so-callecl 'Park Museums'
                                                                                    ancJ   other issues that relate to
 the matterof Jackson Park, tlrey have fbiled to illuminate fbrthe
                                                                   Courteven the most

  fundamental contextual {bcts about the historical signif icance of'Jackson park
                                                                                  and its intriltsic

 value as a l<lcally and, indeed, nationally significant cultural resource.
                                                                            These facts are critical

 when evaltlating claims that the oPC is essentially no different than
                                                                       the 6ther elevel park

 Museums" or that the OPCI          will provide a publio benefit.       because Jackson park already

 represents a unique public beneflt that would be substantially
                                                                diminished sho,ld the OpC be

 built in its proposed location.'t'his subrnission addresses these previously
                                                                              unaddressed

 concerns,    ers   well as other omissions or misstatements that          neecl   to be corrected tbr a proper

 understanding of the context and issues raised in this rrratter.
                                                                  As currently conceived. the opC

 w'ould irrevocably harm Jacksotr Park, whose "defining characteristics...
                                                                           must be respected.,,

 according to an o{'ficial correspondence3 issued in 2012 b5,
                                                              the lllinois l,listoric preservation

Agency' Thus while the Def-enclants assert that the OPC r,vould
                                                                be a public ber.refit, they                    <1o   not
account tbr the fact that the oPC would adversely and irrevocably
                                                                  affbct Jackson park. which is
demonstrably a unique public berrefit in itself. Importantly, proponents
                                                                         of the                   opc   have alrea4y

identifled an alternate site on Chicago's South Side where the
                                                               obarna legacy can be celebrated
without samificing historic public parkland.




'l'lere rvo refer to a lotter clated December Io, 2012, (inclutled here as Appendix 2) frorn
Preservation officer Arrne E. Haaker to the u.s. Anny                                         Deputy state gistoric
                                                           corps of Engineers in response to the latter,s proposal of an
Ecosystem Restoration Project in Jackson Park. a project,
                                                              which, nJtabry. did noi seek to add any built structures
rvithin the park.
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                   I.   The Cultural and Historical Significance of Jackson Park

        Jackson Park was listed in the National Register              of Historic Places on December 15" 1972.

As an internal assessntellta by the Chicago Park District outlined, the park is the product of not

otre, but three historic designs by F'rederick Law Olmsted. Sr.. the 'father of American landscape

architecture.' He and partner Calver:t Vaux (the designers of New York's Central Park) first

submitted a plan fbr Jackson Park to the South Park Commission in I 871 .5 lChicago's South

 Park Systenr is today the only intact park system designed by Olmsted and Vaux outside the

State of   New York). Inrplementation ol'the plan was, however, delayed by the Creat Chicago

Fireuntil thelate 1870s,whenthenorthernrnostsecticxtofthepark(thencalledl-akepark)rvas

graded. seeded. and planted rvith trees. Wlren .lackson Park rvas selectec{ as the setting tor the

World's Colurnbian Exposition of 1893, it was once n-lore Olmsted, working rlith his associate

Henty Codman and architects Daniel Burnham and John Welborn Root. rvho designecl the setting

of the vaunted'White City.'

        After the exposition closed, a series of fires ravaged the site, beginning in January I 894.

leaving a landscape strewn with charred remains. In I895 the firnr Olmsted, Olrnsted                        & Eliot
presented a sweeping redesign of Jacksr:n Park that retained "rrany ofthe fbatures cha.racteristic

of the landscape design of the World's Fair" while providing "all of the recreative facilities

which the rnodem park should ir-rclude for refined and enlightened recreation and exercise.,'6

Recent scholarship has f'urther highlighted the historical precedence of the 1895 plan, which

occupies a special place in the history of landscape architecture. A 2015 articleT authored by


aThe assessment (included
                                here as Appendix 3) was prepared in September I995 by.lulia Sniderman Bachrach,
then a staffmember of the Chicago Park f)istrict's Department of Research and Planning.
-5
   See the Reporl ro rhe Chicago South Purk Cornmission Acc.ompdn),ing a plart.litr Lul,iyf ()ut the South pttrk, l.ty
Olmsted, Vaux & Co. (March 1871).
6
   see Park uncl ()cnteter-v-, vol. 5. No. 2 (April I 89-5). .s.v. "Jackson park, chicago."
7
   See O'Donnell, P. and Gregory t)e Vries. "Entangled Culture and Nature: Towarcl a Sustainable Jackson park in
the'l'wenty-F'irst Century," in C'hange (),-er Time. Vol. 5, No. 2 (F'all 2015\.24g-265.
    Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 11 of 72 PageID #:1987


Patricia O'Donnell and Ciregory De Vries in the peer-reviewed journal Change Over Time makes

a   convincing case that Jaokson Park was perhaps the nation's earliest large-scale brownf.ield-

remediation project-an ingenious and early response to what was in essence an immense

brow'nfield site left in the wake ol'the lires: "F'aced with a massive dernolition site. the Olmstecl

firm ... created soils plans specilying considerable depth of good topsoil in specilic areas o{'trees

and shrub planting. As modem-day prof'essionals on the forefront of best practices, we lbuncl                      it

astounding to discover tl'rat one-hundred-twenty-year-old soils plans, which note two-l'oot-deep

planting areas, guided rebuilding in this brownfield demolition site.,'8

        Although sotne f'eatures in Jackson Park have since been modified, the most important

aspects of the 1895 plan have endured. Its primary compositional elements-the lake, the fields.

and the lagoclns-knitted together by a system          of roadways (which includes lvhat is now Cornell

Drive and Hayes Drive) that affbrds extended views over relatively level terrain, continue to

convey Olmsted's vision {br how the park is experienced visually and spatially. 'l'hat assessment

was corroborated by a government study of Jackson Park in 2Ol4,e wlrich recognized that "for

the most part. .lackson Park toda.v looks similar to Olmsted's I 895 plan in terms of the placemenl

of lagoons, open fields" and areas heavily planted with trees and shrubs." And ra,,hile Olmsted's

plan was updated in 1905. two years after his death, the new-. iteration "was based on Olmsted's

previous plans and vision for the park."l()

        A salient aspect of the I 895 plan that is readily evident today is the prevailing geornetry of

the landscape surrounding the campus of'the Museum of Scierrce and Industry (then called the

Field Colurnbian Mr"rseum). which u,as alreodl) extant in the park's northerrr sector. Notably, it is



8
  O'Donnell ancl l)e Vries (20 I 5), p. 252.
eThe.lac'lcvrtn Park
                     Sedion 506 (ireeil Lakes Fisherl, & Ecoststent Restrtration Studl, (2A13-2014): nrade available
o^nline and upon request by the U.s. Anny corps of E,ngineers, chicago District.
I0
   See the Jackson Pcv.k Section 506 Great Lcties Fishe4t <& Ecosvstern Restoration Stucly,
                                                                                            e0l4), p. l.
      Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 12 of 72 PageID #:1988


only in that part of tlre park that the landscape treatment was designed to respond to the presencc

of-built arclritecture. Here, Olmsted was unmistakably explicit about the design intent, stating

that the    l'ield Columbian Museuffl was meant to be the only "dominating ob.iect of'interest" irr

the park: "All other buildings and structures to be within the park boundaries are to be placecl

and planned exclusively with a view tcl advancing the ruling purpose of the park. They are to be

auxiliary to and subordinate to the scenery of the park (emphasis added).',r                      I




          TCLF has already written at some lengtlrl2 about how the proposecl OPC, with its 235-

Ibot-high tower and reconliguration of'the park's circulation system, woulcl irrevocably and

adversely afl'ect the character-de{ining visual and spatial relationships expressed in Jackson

Park's historic design. Those claims are based on the National Park Service's Secretary rt'rhe

Interior's Stundartl,s /br the 7'reotment tt'Historic Propertie:s, v,ith Guicleline.s./br the T't.e atment

o.f   Cttltural Lantl,scape,s, whiclr outlines the proper treatment of cultural resources that are listed

in' or are eligible tbr listing in. the National Register of Historic Places. Sufllce itto add that

welf prior to the conceptiort of the OPC, the City of            Ch   icago's own I 9g9 South l.,cke Fronr

Framework Planls corrclucJed that "tlre original Olmstecl design has served
                                                                            [.lacksonl park well

over time and should not be compromised by future plans (emphasis adcled. p. l3)." Those

sentiments were likewise expressed in 2012 in an o{licial correspondence f'rom the Illinois

Historic Preserrratiott Agency, the body charged witl'l protecting the State of Illinois'cultural

resources, which unambigr"rously declared that "as currently designed.
                                                                       [.lackson] park retains a

great deal of its integrity. While sonre of the original f'eatr"rres have been moclit.ied, or removed,


11The quotation
                  is fiont a letter dated May 7,1894, from Frederick l,arv Olmsted, Sr.. to South park Board president
Joseph Donnersberger.
12
   c)n January 4.2018. TCLF submitted an ot{icial corresponclence outlining concerns about the proposed
                                                                                                        opC to
the City of Chicago's Department of Planning and Developrnent. That correspondence is inclu<ie6 here as Appendix
4; see especially pp. 5-8.
"The lggg,south hke Frctnt Frctmett,ork Plan. once prorninently posted on the Chicago park District,s website
(httos;l,stluthlakeliontnl:rn.cclrnrabout). has since been rernoved.
      Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 13 of 72 PageID #:1989


 the rernaining defining characteristics such as the overall plan developed by Olmstead.

 Olmstead, and Elliot [sicJ as depicted on the 1905 rnap must be respected. These include, but

 are not limited to, the Golden [,ady statue. the Osaka Garden, tlre       current roadway

 configuration, the beach house, and the configuration of the lagoons" (emphasis added).ta


                                ll.   Defendants' Appeal to the Public Interest

            The Defendants' memorandum in suppoft of their motion to <Jisrniss (hereafier,

 "Def'endants' Memorandum") and the various brief's of Anici ()uriue in f urther support thereol.

rest heavily on the claim that building the OPC in Jackson Park is unquestionably in the          p,blic
 interest. There are several reasons ft>rthe Courtto be skeptical of tlrat claim, which is baseci

largely on unsupported, conclusory statements.

             Notably, neither the Defendants' Memorandum nor the supporting briefs (specifically.

the Brief o1'Thimeen Presidential Fourrdatio ns as Amici Curiue and the llriel'of' Eleven park

Museums as Amici Ctu'iae) mention the name Frederick Law Ohnstecl*most remarkable in the

case of the latter brief-,   wlrich was filed.jointl.v by several cultural and historical institutions.

lndeed. the Defendants'Memorandum mentions "parkland" some 46 times but never speahs
                                                                                     ol.

Olmsted. his historic design, or the National Register of Historic Places. thus giving the Court

the impression tlrat the OPC w'ould be built on a labula rrz,sa. Such repeated ref'erences to

building the OPC on generio "Chicago parkland" (as the Defendants'brief ofien terms it) are

al<in to describing plans to rernodel the Frank      Lloyd Wright l"Iome ancl Studio as alterations to

"Chicago housing." The Defendants' Memorandum also clairns that builcling the OpC w.uld

"enhance the park's recreational value" and that Jackson Park woulcl be ,'revitalized"; but the

Def'endants oft'er no data, use studies. or other documentation to inclicate that tlre park's


rr
     See   Appendix 2.
    Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 14 of 72 PageID #:1990


 recreational value is low orthat it is underused and in need of revitalization. Tlre f'ailure                  t.
 recognize .lackson Park as a significant cultural resource that is replete with public benefits-a

 resoLrrce tlrat woLrld be adversely       affected if the OPC were built as planne<1-greatly unclermines

 the Del'endants'assertions about the "cluintessentially public benel'its" the OPC would provicle.

        The decisitln to use public parkland forthe site ofthe OPCI is very cclntroversial indee6. It

 is r'vorth recalling that fclur universities were finalists irr the bidcling to hclst the OpC: Colurnbia

 [Jniversity in New York C]ity: the University of Harvaii irr Honolulu; the Universitl,, of Illinois in

 Chicago; and the University of Chicago. Each ol'the first three institutions proposed to hostthe

 tacility on land it ow'ned; but the University of Chicago, which has extensive landholdings gn

Chicago's South Side. and which is ttre sixteenth-r.vealthiestl5 university by,enclowmenr in
                                                                                             the

United States, souglrt to use public parkland instead of land it owns. It is fair to say that had

Columbia University demanded t\.venty acres of Central Park (also designed by Olnrsted and

Vaux) to include in its bid" the proposal would have been imme<Jiately, deri<]ed and regarded
                                                                                                                        as

ludicrous.

        Fufthermore, as the Court is ar.vare, the OPC will not be a presidential library as originally

planned but rather will be apresiclential center, an<J. urrlike the actual presi<Jential
                                                                                         libraries, it

will not be adrninistered by the National Archives and Recorcls Administration (NARA).                          The

OPC    will   be administered    entirely by a private {bundation and ri,ill thus be a privately run f acility

wlrose primary goal is to nlonumentalize the presidency of Barack Obanra. As scholarsr6
                                                                                        ancl

.iournalists have long observed. presidential libraries, let alone a privatelyadministered


ls See
       "College and University Endorvments: Overvierv ancl'l'ax policy,options.', a repo.t b,v,the
                                                                                                     Congressicxal
Research Service published May 4,20 l8 (available online and by request);
                                                                               rvherein the enclownrent ol-rhe
University of Chicago is reported as $7.5 billion fcrr fiscal year2017,'surpassed
                                                                                   by only filteen other universities
nationwide, nvo of which represent "university systems.',
"'See, e.g., Hutbauer. Benjainin (2006). presidcntiol Temples: I.lo.ty Metnoriuls antl Librurie.y Shupe public
Memot'v Urriversity Press of Kansas; and see Clark, Anthony (20 I 5). The Last
                                                                                 Cantltoign; Hr.ny presidents Rert,rite
Hislotl;. Run.fbr Po,sterity and Enshrine Their Legacies. createSpace publishing.
     Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 15 of 72 PageID #:1991


 presidential center (whatever that neologism ultimately describes). are deeply ideological
                                                                                            places.
 'Ihey are perennially panned as
                                 "spin {'actories and event venues"lT lhat bow to the pressures of

 the private donors who help fund their construction.ls'l'he typical counter-argumerlt
                                                                                       to such

 criticisms is that while presidential libraries tend to whitewash history, they. at least, provi<1e

 irnportant repositories fbr scholarly research; but the OPC. which is reportedl5, planned
                                                                                           to

 include a test kitchen. recording studio. basketball court. sleclclilg hill. restaurant, and
                                                                                              other

 amenities, will be no such repository, as the physical records and other artif'acts of
                                                                                        the Obama

 presidency          will   be housed at a NARA      facility in the grearer Kansas City metropolitan area. The

 primary mission ol'the OPC will thus be to present and represent a political
                                                                              ideology that many

Chicagoans           will not count   as a   benefit and will choose to avoid. Parks, on the other hand. are not

 intrinsically ideological spaces: they are, as Olmsted envisioned, democratic spaces that
                                                                                           accrue

tcl the benefit of all.

         The Court should also be aware tlrat the overall economic impact of the
                                                                                 OpC on the South

Side community is Iess than certain. While a report produced by the Obama Foupdation

proiectedtlrattheOPCwouldgeneratesorne$2.1 billionineconomicinrpactoverthefirst

decade     ol'its operation.l9there are reasons to be skepticalzo o{'tlie long-term projections. A*cl

what is more. the question of who will benefit financially ancl who will lose
                                                                              is one that remains


17  lseracs.Doanna."Whzrt'sWrong'rvitlrPresiclentiall.ibraries1"(.'hicagoReuc{er,
l8 See
                                                                                            Ircb. l-s,20 17.
        Nagottntey. Adanl. "what's a Prcsiclc:ntial Library 1o Do?" 'l'he xJety l't>t.k
                                                                                         7'intes, Sept. 12, 201 I; rvlerein Mr.
l'arry I Iackman, the tbt'nler director of the llarry S. 'l'mm:rn l-,ibrnry ancl Museurn,
                                                                                           said the fbllowing: ,,.l.he firtal
continuing llarv are those private fiiunclations. 'l'hey will tellyou they are a gre.rt
                                                                                         <jeal because o{,all the nonl'ecler.al
nloney they are [rringing in. ln rrry opinion, there are hiclclen irncl in sorne
                                                                                 cases there are solne ocli.us strings tSat
conre with that tnoney that keep ttre libtary dilectors, no matter hr:w well
                                                                                 intentionecl they are. Ii.rr cleveloping
ccrtain exhibitions or progranrs."
re See' e.q,
              "Obatna Center to Create $2. I []illion in Hconornic llnpact l'<rr South Sidc.,, philttnlltrnplt
                                                                                                                  Netvs Dige,sl.
May   I "5. 201 7.
r0Sce Safo- Nova.
                      "f)o plesirJontiirl libraries roally pay ofIfor cities'/ " Mrtrketl:tlacr:, M.y 12,2015; whereirr
Anthony Clark. a fbrnler senior aicle in the tl.S. Ilr:use of'Representatives rvho
                                                                                            tircused on the oversight ol.the
National Archivos and presidentitrl libraries, sai<l: "'l'hc iclca ihat the
                                                                               [prc:si<lcntiall tibrary croatos an econ.nric b.ost
that lasts inclelinitely is just not borne out by the nurnbers. In lhct,
                                                                            libiary attcntlance. ilo rnatter wSich library ...
declincs over tirne."
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contentious. In fact. many South Side residents and organizations have formed a coalition2lthat

seeks a Community Benelits Agreenrent with the OPC. heretofbre unrealized. A key concern ol'

the coalition22 is that the construction of the OPC in.lackson Park                will result in rising    rents and

taxes in the wake of gentrificati<ln, ultimately displacing a significant portion of the area's

working-class residents.

           Apropos of those concerns, the choice to place the OPCI irr Jackson Park lras vexed many

commentators-even those who support the OPC-becaLlse there is extant vacant land available

elsewhere on the South Side that rnanif'estly ofTers a muclr greater opportunitv tbr community

revitalization and econornic development,23namely the so-called "Washington Park site" at the

intersection of 55thand Garfielcl Streets. The potential tbr building on the Washington Park site

to produce a more positive economic outcome was asserted by none other than the University of'

Chicago in the very bid package2a it submitted to the Obama Foundation in the hopes ol'

attracting the OPC-a revelation tlrat became public knowledge rryhen the bid package, whicl'r

had been kept secret even f}otn         city staft.25 was finally rnade public. Notably, the Washington


2r  'lhe cclalition rnaintains the firllowing rvebsite: http://www.obamacba.orq/
22See, e..g.,  Cuarino, Mark. "Obama Presidential Center faces pushback fiorn Jackson Park residonts." I'he
 Washingtort Post, Mar.23,2018: wherein Cuarino reports: "But rvhile Obarna is embraoecl in his horne town, tlre
OPC has become a llash point for rnany of the issues that the lbnner South Sicle comrnunity organizer once railed
against: gentrification, alfordablehrrusing, governnlentaccountability and transparency. Since it was anuounced, the
OPC has received strorrg ptrshback fiorn people rvho say the .|ackson Park location. wlrich borders diflbrent
neighborhoods, rvill destroy valuable green space while driving up properry values that will displace people who are
already living paycheck to paycheck."
r'' See, e'.g, "Just why
                           is the Obanra Center heading to Jackson Park?" 'I'he Editorial lloard of Cra in's Clticago
lJusittes's, Aug. 3, 2018; wherein "So why, in a city that covers ?37 scFrare nriles, with plenty of vacant land on the
South and West sides. does the Obarna Center have to be orr2?. acres of public laketiont tltat isn't near
neighborhoods that could use al1 economic shot in the arrn?"
raSee "The University of Chicago
                                  Response to Request fcrr Proposal," p. I l2: "Of all the proposecl sites, the
Washington Park neiglrborhood is the one with the greatest potential for economic development and growth.
The neighborhood has nearly 270 acres of vacant land and limited existing retail, recreational, ancl ibod anrenities.
The influx of new denrand fiom Presidential Center visitors and the aflbrdability of local properties could spur a
significantamountofdevelopmentnearthesitetothescaleofupto2.000rrewresidencesand l.5rnillionsquare
f'eet of
       comrnercial and conrrnunity development potential" (enrphasis a<ttled).
25See
      Marek, Lvnne. "A challenge to the Obarna Center reveals things rve didn't know." C'rcrin's C'hicago llusiuess.
July 20,2018; wlrerein it is reported that "city staffbrs never saw [the bid], either, accorciing to Illirrois Assistant
Attorney General Laura Harter's response to a Freedonr of lnfornration Act request."
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Park site includes acreage adjocenuo Washington Park, which would allow the Obama

Foundation to build a facility that takes advantage of, but does not encroach upon, historic public

parkland. TCLF does not support the use of any portion of Washington Park for OPC facilities,

but we would   fully support using   the adjacent eleven-acre parcel, which, unlike Jackson Park, is

conveniently located near a mass-transit station in an areathat sorely needs economic investment

and revitalization.

                                            CONCT USION


      Jackson Park is a unique cultural resource that has been held in trust for the citizens   of

Chicago for nearly 150 years. The Illinois Historic Preservation Agency and, until recently, the

City of Chicago have insisted that the park's historic design not be compromised by new

projects. Although the park remains an irreplaceable part of the legacy of Frederick Law

Olmsted, Sr., it is not a monument to Olmsted, nor to any man: it was conceived as a free and open

public space for the benefit of all Chicagoans, without regard to race, social status, ethnic

background, or political ideology. Were the OPC to be built as planned in Jackson Park, any

public benefit the presidential center would bring would be outweighed by the harm done to the

park's historic design and the loss of open, democratic space. The unprecedented taking of such

historic parkland for use by a private foundation would also send a grim and loud message about

the value of the nation's cultural resources that are held in public trust and listed in the National

Register of Historic Places.

                                                Respectful ly submitted,

                                                THE CULTURAL LANDSCAPE FOLTNDATION




                                                President and CEO

                                                   to
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       OPPOSITION TO TIIE DEFENDAIiSTS'MOTION TO DISN{ISS TI-IE CASE


                                            APPENDICES


Appendix l: Curriculum Vitae of Charles A. Birnbaum


Appendix 2: A letter, dated December 10, 2012, from the Illinois Historic Preservation Agency to the
U.S. Army Corps of Engineers regarding a prospective project in Jackson Park



Appendix 3: An historical assessment of Jackson Park prepared by the Chicago Park District in 1995


Appendix 4: A response, dated January 3,2018,to the City of Chicago from TCLF acting in its capacity
as a designated consultingparty to the National Historic Preservation Act, Section 106 compliance
review and the National Environmental Policy Act (NEPA) review underway for Jackson Park
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               APPENDIX        1-   CURRICULUM VITAE OF CHARLES A. BIRNBAUM

CHARLESALAN BIRNBAUM, FASLA, FAAR
The Cultural Landscape Foundation i711 Connecticut Ave NW, Suite zoo Washington DC 2ooo9
2o2.483.0553 charles@tclf.org



                                                                                     PROFESSIONAL EXPERIENCE

President and CEO, The Cultural Landscape Foundation, Washington, DC. 1998. Founded and incorporated the not-
for-profit organization
                      in t998 with primary emphasis on preserving cultural landscapes through sound stewardship
and education practices. Today manages a nationally recognized board, and a staff of ten with an annual budget of
gt.6 million.

Visiting Professor, Columbia University Graduate School of Architecture Planning, Spring zorr   - present
Visiting Critic, Harvard University, Craduate School of Design, 2014-2017 (For Adriaan Gueze of West 8)

Coordinator, Historic Landscape lnitiative, National Park Service, Heritage Preservation Services, Washington D.C.,
March t99z to April zoo7. Created and managed a national program with limited budget. Responsibilities included
national policy guidance and the development of standards and guidelines, includingttTheSecretary of thetnterior's
StandardsfortheTreatmentof HistoricProperties + GuidelinesfortheTreotmentof Cultural Landscapesrr, conference
development and planning, published books and thematic journals, web development, staff management,
coordination with federal, national and regional partners and oversight of volunteers.

Glimcher Distinguished Professor, Ohio State University, Columbus, OH, Graduate Studio and Seminar, Landscape
Architecture Program, Fall-Winter, zooT

Professor, Professional Development Program, Harvard University, Graduate School of Design, 2oo1-o3.

I   nstructor, National Preservation nstitute, r 999-zoo8.
                                     I




lnstructor, Part-Time Appointment, George Washington University, Washington, DC, Historic Landscape
Preservation Studio, Levels I and ll, April r993 to r998.

Associate, LANDSCAPES, Landscape Architecture, Planning, Historic Preservation Westport, CT. February r99o to
March t992. Emphasis on Historic Landscape Architecture and Preservation Planning.

Associate, Walmsley & Company, lnc., New York, NY. September r984 to February r99o. Managed and or played a
key role in a variety of prolects where the Landscape Architect is usually the Prime Consultant. Emphasis on
Landscape Preservation, Urban Waterfronts, Site and Community Planning and lnnovative lnventory, Analysis and
Management Methodologies. Associate from June r987.

College of Environmental Science and Forestry, Syracuse, NY. Senior Urban Design Studio, Visiting Lecture (Spring
t988), Visiting Lecturer (t987-t99t), and Off-Campus Student Advisor (Fall r988).

University of Pennsylvania, School of Landscape Architecture Craduate Studio, Visiting Lecture, Philadelphia,
Pennsylvania (Spring r 988).

Consultant: Parks & Recreation, New York, 986-87. Develop Visitor Maps and User Guides for Van Cortlandt and
Pelham Bay Parks, Bronx, NewYork.

The Office of William B. Kuhl, New York, New York, r983-1984. Job Captain responsible for the coordination and
presentation of projects including park and plazas, mixed use developments, housing, universities, corporate
headquarters and residential sites.




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        APPENDIX 1 - CURRICULUM VITAE OF CHARLES A. BIRNBAUM


                                                                                                    EDUCATION

Samuel H. Kress Fellow, Rome Prize in Historic Preservation and Conservation, 2oo4, Rome, ltaly

Loeb Fellow, Harvard University, Graduate School of Design, ry97-98. Emphasis on not-for-profit management, new
media and education, and historical studies in art, architecture, and native peoples.

State University of New York College of Environmental Science & Forestry, Syracuse, New York and London,
England. Bachelor of Landscape Architecture, cum laude, r983.

State University of New York at Farmingdale. Associate of Applied Science in Ornamental Horticulture, r978.




                                                                                  FILMS, VIDEO & EXHtBITIONS

Executive Producer and Co-Curator, "Lawrence Halprin: Landscape Architect." Travelling exhibit. Opened
November zot6- February zot7, National Building Museum, Washington, D.C., traveling thereafter.

Executive Producer and Proiect Manager, "William Johnson" Pioneers of American Landscape Design oral history
module, The Cultural Landscape Foundation, November zor6.

Executive Producer and Proiect Manager, "Harriet Pattison" Pioneers of Americon Landscape Design oral history
module, The Cultural Landscape Foundation, April zor6.

Executive Producer and Co-Curator, "The New American Garden: The Landscape Architecture of Oehme, van
Sweden." Travelling exhibit. November zot5- May zot6, National Building Museum, Washington, D.C., traveling
thereafter.

Executive Producer and Project Manager, "Nicholas Quennell" Pioneers of American Landscape Design oral history
module, The Cultural Landscape Foundation, September zor5.

Executive Producer and coturator, "Dan Kiley: Landscape Architect." Travelling exhibit. Opened November zor3 at
the Boston Architectural College; February-May 2014 National Building Museum, Travelling thereafter.

Executive Producer and Proiect Manager, "Richard Haag" Pioneers of American Landscape Design oral history
module, The Cultural Landscape Foundation, May 2o14.

Executive Producer and Project Manager, "Laurie OIin" Pioneers of AmericanLandscapeDesign oral history module,
The Cultural Landscape Foundation, October zor3.

Executive Producer and Project Manager, "Joe Yamada" Pioneers of American Landscape Design oral history
module,The Cultural Landscape Foundation, January zor3.

Executive Producer and Project Manager, "Shlomo Aronson: lsrael's Master Landscape Architect" Pioneers of
American Landscape Desr'gn oral history module, The Cultural Landscape Foundation, November zorz.

Executive Producer and Project Manager, "Cornelia Hahn Oberlan der" Pioneers of Americon LandscapeDesign oral
history module, The Cultural Landscape Foundation, May zorr.

Executive Producer, "Every Tree Tells a Story," The Cultural Landscape Foundation in concert with American Photo
magazine. Photography Exhibit and Outdoor, lnterpretive Signboard Exhibition, Washington, DC, November zoro
to present. Venues included Aljira Centerfor Contemporary Art, Newark, NJ; Long House Reserve, East Hampton,
Long lsland; Cheekwood Museum and Botanical Gardens, Nashville, TN; 21c Gallery, Louisville, KY; Yew Dell




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           APPENDIX         1   - CURRICULUM VITAE OF CHARLES A. BIRI\BAUM

Botanical Gardens, Louisville, KY; Campbell House Galleries, Southern Pines, NC; Jay Heritage Center, Rye, NY;
National Arboretum, Washington, DC., Hilltop Arboretum, Baton Rouge, l-A; Longue Vue Cardens, New Orleans, LA,

ExecutiveProducerandProlectManager,"JamesvanSweden"Pioneersof              AmericanLondscapeDesr'gn    oral history
module, The Cultural Landscape Foundation, March zoo9.

Executive Producerand Profect Manager, "Lawrence Halprin" Pioneersof AmericanLandscopeDesign oral history
module, The Cultural Landscape Foundation, March zoo9.

Executive Producer and Project Manager, "M. Paul Friedberg " Pioneers of AmericonLandscapeDesign oral history
module, The Cultural Landscape Foundation, March zoo9.

Executive Producer, "Heroes of Horticulture" The Cultural Landscape Foundation in concert with the US Botanical
Gardens, Outdoor lnterpretive Signboard Exhibition, Washington, DC, November 2oo8-May 2o1o.

Executive Producer, "Maryels of Modernism" The Cultural Landscape Foundation in concert with the George
Eastman House lnternational Photography + Film Museum, Rochester, NY, November zoo8-January zoog and
travelling thereafter for three years.

Executive Producerand Proiect Manager, "Edward Daugherty" Pioneersof AmericonLandscapeDesign oral history
module, The Cultural Landscape Foundation, December zoo7. Reprogrammed as an educational kiosk in the
Edward L. Daugherty exhibition at the Atlanta History Center, October zooS-March zoo9.

Executive Producer, "Heroes of Horticulture" The Cultural Landscape Foundation in concert with the Ceorge
Eastman House International Photography + Film Museum, Rochester, NY, November 2oo7-January zooS and
travelling thereafter for three years.

Executive Producer, "Carol R. Johnson" Pioneers of Americon Landscope Design oral history module, The Cultural
Landscape Foundation, December zoo7.

Executive Producer, "Modern Carden lcons," lnteractive CD-ROM and web site aimed at middle school audience.
The Cultural Landscape Foundation. Distribution in partnership with ASLA and others, z oo6.

Executive Producer, "City Shaping: The Olmsteds and Louisville, KY." lnteractive CD-ROM and web site aimed at
middle school audience. The Cultural Landscape Foundation. Distribution in partnership with ASLA and others,
2006.

Executive Producer, "The Prairie ldealized: Columbus Park, Chicago, lL." lnteractive CD-ROM and web site aimed at
middle school audience. The Cultural Landscape Foundation. Distribution in partnership with the ASLA and others,
2oo3.

Executive Producer, "Connections: Preserving America's Landscape Legacy." A one-hourfilm narrated by Angela
Lansbury with a total budget of $75o,ooo. Cosponsored by the National Park Service, the American Society of
Landscape Architects, The Garden Conservancy and over thirty additional sponsors. Gina Angelone, Director, r996.

Cu rator and author. "Samuel Parsons, Jr. and the Art of Landscape Architecture." A travelling exhibition sponsored
byThe Catalog of Landscape Records atWave Hill. Opened December r994 at Wave Hill and traveled thereafterto:
The Arsenal at Central Park to September 1995; The Arnold Arboretum, Cambridge, MA, to February r996; The
Melon Library in Pittsburgh, PA, winter r996; Haverford College, Haverford, PA, fall 1997 and the San Diego
Historical Society at Balboa Park, San Diego, CA, Spring-Fall r998.




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             APPENDIX       1   - CURRICULUM VITAE OF CHARLES A. BIRNBAUM



                                                                   CONFERENCE DEVELOPMENT AND PI.ANNING

Leading with Landscape lV: Transforming North Carolina's Research Triangle, the City of Raleigh, North Carolina
Museum of Art, and the Dix Park Conservancy, April zot8.

Landscape as Catalyst: Lawrence Halprin's Legacy and Los Angeles in concert with the A+D > Museum, Los Angeles,
November zot7.

LeadingwithLandscapelll: SanAntonio'sBrackenridgeParkinconcertwiththeBrackenridgeParkConservancy,
the City of San Antonio and others. San Antonio, TX, March zot7.

Leading with Landscape ll: The Houston Transformation, Houston Museum of Fine Arts, in concert with the
Houston Parks Board, Uptown Houston, Rice Design Alliance, and others. Houston, TX, May zor6.

Second Wave of Modernism lll: Leading with Landscape, Toronto, ON, in concert with the City of Toronto, Ryerson
University and the University of Toronto. Held at the lsabel Bader Theatre, May 2015.

The Nature Culture Divide lll: Saving Nature in a Humanized World, The Presidio of San Francisco, in concert with
The Presidio Trust, Golden Gate National Parks Conservancy, National Park Service, San Francisco, CA, January zor 5



Civic Horticulture, a national symposium on plants, city shaping and place making. In concert with the Pennsylvania
Horticulture Society, Philadelphia, PA, May zor3.

The Nature Culture Divide ll: The Central Park Woodlands, in concert with The Central Park Conservancy, The
Museum of the City of New Yorlg New York City, NY, October 2012

Second Wave of Modernism ll: Complex Landscapes. The Museum of Modern Art, New York, NY, November zorr.

Shaping the American Landscape. Ten regional conferences between October zoog and April zorr. Held in concert
with the publication of the same title. Venues include: New York Botanical Garden, Bronx, NY; Cheekwood
Botanical Garden, Nashville, TN; University of California at Berkeley; Chicago Architecture Foundation; Pittsburgh
Parks Conservancy/AndyWarhol Museum; Preservation Dallas/Dallas Museum of Art; Historic New England;Atlanta
History Center and the Los Angeles Conservancy.

Designing the Park: Part I and ll, Charlottesville, VA and San Francisco, CA. May and December 2oo9. Multiple
partners including the National Park Service, University of Virginia, Golden Gate Parks Conservancy and theVan Alen
Institute.

The Second Wave       of Modernism in Landscape Architecture, cosponsored with The Chicago Architecture
Foundation, lllinois lnstitute of Technology, University of Illinois and the ASLA, November zoo8.

Landscape and Patronage. Cranbrook College of Art, Bloomfield Hills, Ml, sponsored by The Cultural Landscape
Foundation, House & Garden magazine, the Historic Landscape lnitiative, November zoo6.

Mission lmpossible: Embracing a Historic Property's Continuum and Expanding the Message. Convened at Gunston
Hall, Mason Neck, VAo sponsored by the National Park Service Historic Landscape lnitiative and the Cultural
Landscape Foundation. Support provided by The Carden Club of Virginia, July zoo3.

Future with a Past: Design, Planning and Management of Historic Campuses, Minneapolis, MN. The University of
Minnesota, Minnesota Historical Society, The National Park Service Historic Landscape lnitiative and the Cultural
Landscape Foundation, October zooz.




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            APPBNDIX        1   - CURRICULUM VITAB OF CHARLES A. BIRNBAUM


CelebratingAmerica's Historic Parks: Connecting the Past with the Future, FortWayne, lN. The Friends of the Park
of Allen County, the Cultural Landscape Foundation and the National Park Service Historic Landscape lnitiative,
September zooz.

Preserving Modern Landscape Architecture & Making Post War Designs Visible, The Cultural Landscape Foundation,
The National Park Service Historic Landscape lnitiative, The Catalog of Landscape Record, The New York Landmarks
Conservancy and Columbia University, May zooz.

A Symposium on the Historic Estate Landscape & lts Interpretation for Future Generations, The Speed Museum,
Louisville, KY. River Fields, The Cultural Landscape Foundation and The National Park Service Historic Landscape
lnitiative, January 2oor.

Pioneers of American Landscape Design: Book Launch and Symposia. Wave Hill, New York City, NY. The Catalog of
Landscape Records in the United States at Wave Hill, The National Park Service Historic Landscape lnitiative and the
Cultural Landscape Foundation, New York City and Chicago, lL 2ooo-o1.

lf Only We Knew: Landscape Preservation in Context, t89o-r95o, sponsored by the National Park Service, the
Catalog of Landscape Records in the United States at Wave Hill, and the Garden Clubs of America, New York, NY,
1999.

Developing K-tu Educational Tools for Cultural Landscapes. A workshop to develop interactive learning tools for
eight regional landscapes. Sponsored by Harvard University Graduate School of Design, the A5LA, and the Teaching
With Historic Places Program, Spring r998.

lmages, Myths and ldentity: lnterpreting Historic Places in Britain and the United States. Co-sponsored by The
University of York, The Society for the lnterpretation of Britain's Heritage and the National Park Service, r997.

Exploring American Design in Planned Communities. Co-sponsored by the National Park Service, National
Association for Olmsted Parks, The National Trust and the American Planning Association, Chicago, lL, 1996.

Preserving Modern Landscape Architecture. Co sponsored by the Catalog of Landscape Records in the United
States at Wave Hill, American Society of Landscape Architects and the National Park Service, New York City, NY.
1995.

Balancing Natural and Cultural lssues in Historic Landscapes. Sponsored by the US Forest Service, the National
Association for Olmsted Parks, the National Park Service and the George Wright Society, at the Biltmore Estate,
Asheville, North Carolina, 1gg1.

A Reality Check for Our Nationrs Parks. Sponsored by the National Trust for Historic Preservation, the National
Association for Olmsted Park and the National Park Service, St. Louis, MO, 1993.

The Landscape Universe: Historic Designed Landscapes in Context, Co sponsored by the Catalog of Landscape
Records in the United States at Wave Hill, American Society of Landscape Architects and the National Park Service,
New York City, NY. 1993.

Historic Landscape Preservation Symposiums for the American Society of Landscape Architects: Chicago lllinois
(tgg); Washington  D.C. (r992); Kansas City, MO (r99r) and, San Diego, Cn 0ggo).



                                                                               SELECTED AWARDS AND HONORS

2o17 ASLA   Medal (the profession's highest honor from the American Society of Landscape Architects.

zotT HonorAward in Communications, American Society of Landscape Architects, for "The Landscape Architecture




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of Lawrence Halprin"

2o16 Award of Excellence in Research and Communications,American Society of LandscapeArchitects, for "What's
Out There City Guides"

2o15 Honor Award in Research and Communications, American Society of Landscape Architects,          for "Modern
Landscapes: Transition and Transformation Series" Princeton Architectural Press.

zot4 Award of Excellence in Communications, American Society of Landscape Architects, for "The Landscape
Architecture of Dan Kiley"

2o12 Honor   Award in Communications, American Society of Landscape Architects, for "What's out There?"

zott Service Award, The New York Chapter of the American Society of Landscape Architects.

2o11   HonorAward in Communications The American Society of Landscape Architectsfor "Landslide zoo4-roto: The
First Six Years."

2o11 HonorAward in Analysis and Planning The American Society of Landscape Architects for "Dignity of Restraint:
A Historic Landscape Preservation Study for the University of North Carolina at Chapel Hill" with Hoerr Schaudt
Landscape Architects.

201o   Award of Excellence in Communications, American Society of Landscape Architects, zoro.

zoog President's Medal, The American Society of Landscape Architects, presented by Angela Dye, FASLA

2oo9 Honor Award for Excellence in Planning for Preservation. Society of College and University Planners (SCU P)
for Dignityof Restraint,aHistoricLandscopeFrameworkPlanforUniversityof        NorthCarolinaatChapel Hill (UNC)
with Hoerr Schaudt.

2oo7 Lacasse Medal, American Society of Landscape Architects for Public Service.

2oo7 Honor Award in Communications, American Society of Landscape Architects for The Cultural Landscape
Foundation's Cultural landscapes as Classrooms Series.

zoo5 California Preservation Foundation, California Preservation Award, Cultural Resources Category, University of
California, Berkeley -Landscape Heritage PIan, Sasaki Associates.

2oo4 Rome Prize in Historic Preservation & Conservation

zooz Golden Anvil, Casa del Herrrero Foundation for Work in Landscape Preservation.

2oo1 Merit Award, American Society of Landscape Architects for Pioneers of American Landscape Design to the
Historic Landscape Initiative, Library of American Landscape History, Catalog of Landscape Records atwave Hilland
the Cultural Landscape Foundation.

20oo Merit Award, American Society of Landscape Architects for the on-line technical series, Cultural Landscape
Currents to the Historic Landscape lnitiative and the Cultural Landscape Foundation

zooo Presidents Award, American Society of Landscape Architects to Spacemaker Press fortheir Land Mark Series.
"Preserving Modern Landscape Architecture" edited by Charles A. Birnbaum was part of the award package
(Landmark No. ro)

1997 Merit Award, American Society    of Landscape Architects, for the film, "Connections: Preserving America's




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Landscape Legacy," to the Historic Landscape lnitiative.

r997 Merit Award, American Society of Landscape Architects, for the "Cuidelines for the Treatment of Cultural
Landscapes," to the Historic Landscape lnitiative.

t996 Appointed Fellow by the American Society of Landscape Architects.

t995 Presidentrs Award of Excellence, American Society of Landscape Architects, the Historic Landscape lnitiative,
1992-1995.

1994 Honor Award, American Society of Landscape Architects, Connecticut Chapter, Cultural Landscape Report,
Vanderbilt Mansion National Historic Site, Hyde Park, N.Y.

t994 Landscape Architecture Magazine, Residential Design Awards, Honorable Mention, t'Albemarle Park and
Samuel Parsonfs Visionrr, Author, Asheville, North Carolina

t993 Planning Award, Connecticut Trust for Historic Preservation, Hartford Parks Master Plan, Associate,
LANDSCAPES.


1992 Honor Award, American Society of Landscape Architects, Connecticut Chapter, Hartford Parks Master Plan,
Hartford,   CT.   Associate, LAN DSCAPES.

1992 Honor Award, American Society of Landscape Architects, Connecticut Chapter, Downing Park Proiects,
Newburgh, New York, Associate, LAN DSCAPES.

t99z Public ServiceAward, National Capital Planning Commission, Contributions to the comprehensive planning of
the Nationrs Monumental Core.

t99z Griffin Award, Preservation Society of Asheville and Buncombe Counties, "Albemarle Park and Samuel Parsonrs
Visionr', Author, Asheville, North Carolina

t99z National Endowment for the Arts, Federal Design Achievement Award, ASLA HPOC

t99t American Planning Association, Mission San Luis Rey Charette Project, ASLA Historic Preservation Open
Committee, Oceanside, California.

t99t NewYorkState Preservation League, Preservation Award, Downing Park Preservation Planning Reports, r988-
t99t, Patricia M. OtDonnell, ASLA, APA, Charles A. Birnbaum, ASLA and David Schuyler, Historian.

t99o Whittingham Streetscape, Honor Award, New Jersey Chapter, American Society of Landscape Architects,
Proiect Director.

t989 Springside Landscape Restoration, MeritAward, American Society of Landscape Architect ProfessionalAwards
Program, Project Director.

t989 Syracuse Historic Landscape Resources Survey, Preservation League of New York State, Public Trust Award,
Proiect Director.

t987 Master PIan for Preservation, Town of Guilford, Connecticut, Merit Award Assistant Landscape Architect.

1985 Druid Hill Park Master Plan, Walmsley/Graham Joint Venture, Baltimore, Maryland, sponsored by Parks and
People and Sugarloaf Regional Trails, Assistant Landscape Architect.




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           APPENDIX        1   - CURRICULUM VITAE OF CHARLES A. BIRNBAUM



                                                                          SELECTED PUBLICAT!ONS AND ART!CLES

Contributor to The Huffington Post with an ongoing blog, January zoto       - present.
"Boundary Expansion," in The New Landscape Declaration: A Call to Action for the Twenty-First Century. Rare
Bird Books and the Landscape Architecture Foundation, 2o't7, pp. pp. 6o-64.

"A Park Full of ldeals," Parting Shot in Modernism magazine, Winter zot6,p.'t'r2.

lntroduction for, The Blue Garden: Recapturing an lconic Newport Landscape, published by Redwood Library
and Anthenaeum,2oi6.

"Opinion: Disparity in the Values Assigned to Architecture and Landscape Architecture Continues," Dezeen
magazine, 3r March zor6.

"Wild Thing: You Make My Heart Sing," lntroduction to, The Cultivated Wild: Cardens and Landscapes by
Raymond Jungles, Monicelli Press, October zor5, p. 8-9.

"The Crisis of Context" Landscape Arc-hiteeture magazine, September 2015, Vol 105, No. g, pp.145-151.

Afterword for, Wresting with Angels and Singing with Dragons The Making of         a Garden Across a5 Years
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"Comment: On The National Significance of the Frick's Page Garden," The Architect's Newspaper, 04 March
2015.


"Urban Pedestrian Malls." Paisaiismo Landscape Architecture, Vol. oz9, Spain, zor4. pp.76-77.

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"Modern Landscape Architecture: Presentation and Preservation" Forum Journal. Winter             2o13, Vol. 27, No. 2,
47 pp. Cuest editor.

"Why Not Cultural Systems?" Harvard Design Magazine, No.36 Landscape Architecture's Core,             2o13

Modern Landscapes: Transition and Transformation. Series editor, Princeton Architectural Press. Volume One:
Lawrence Holprin's Skyline Park by Ann Komara (August zotz) and Volume Two: Mellon Square: Discovering a
Masterpiece by Susan M. Rademacher (zor5).

"Charles Birnbaum on the Future of Landscape Architecture," Dwell, March zor3

"We've Been Robbed" Landscape Architecture magazine, February           2012, Vol 102, No. z, pp. ,t84.

lntroduction, "Paradise Made Visible" for Private Paradise: Contemporary American Gardens by Charlotte
Frieze, Monicelli Press, October zot


"Museum Stomping Grounds," The Architects Newspaper, June 16, zoro Charles A. Birnbaum.

Shapin8 the American Landscape: New Profiles from the Pioneers of American Landscape Design Proiect.
Charles A. Birnbaum and Stephanie Foell, editors. University Press of Virginia, 20o9.


"Cultivating Appreciation," Dwell, September zoo7, pp. 196-2oo.




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Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 27 of 72 PageID #:2003
            APPENDIX        1-   CURRICULUM VITAE OF CHARLBS A. BIRNBAUM

                  Space: How focal points and pavement are ruining America's park." Historic Preservation,
"ln Defense of Open
 September/October 2005, Vol. 57, No. 5, pp. 38-39. Reprinted in Revitalization, a journal of the AlA, January
2006.

Design with Culture: Reclaiming America's Landscape Heritage. Charles A. Birnbaum and Mary V. Hughes,
editors. University Press of Virginia zoo5.

"Philosophies for Cultural Landscapes and Historic Preservation." Preservation Forum, Vol. r9, No. 3, Spring
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"Reclaiming a Lost Legacy: The Challenge of Preserving the Postwar Era's lnvisible Gardens." Common Cround.
Summer 2004, pp. 1o-15.

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A. Birnbaum, editor zoo4.

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Urban Futures. The World Bank, 2oo1, pp. zt8-23o.

"Contemporary Landscape Architecture For Western Living: Preserving and lnterpreting an lnvisible Landscape
Legacy," Preservation Forum, Fall zooo.

Pioneers of American Landscape Design:A Biographical Dictionary, McGraw Hill Publishers, NewYork. The National
Park Service Historic Landscape lnitiative with the Library of American Landscape History, zooo, 486 pp.


"Preserving and lnterpreting the Legacy of Thomas Dolliver Church," Studies in the History of Cardens & Designed
Landscapes, Vol. zo, No. z, April-June 2ooo, pp. r8r-r9r.

Preserving Modern Landscape Architecture, Spacemaker Press, with supportfrom The Graham Foundation. Edited
by Charles A. Birnbaum, 1999. 84 pp.

Book Review: "The Rebirth of Bryant Park in New York City," Landlolum , 03, 1999 pp. l8-4o.

"Samuel Parsons, Jr., Landscape Architect", lndividual entry by Charles A. Birnbaum for the American National
Eiograpl-ry, Oxford University Press, 1997.

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t88 pgs.

"Surveying the Field," in Landscape Architecture, April r996, pp.36-43

"Balancing Nature and Culture in the Preservation of Historic Landscapes,"      a Thematic lssue of The 6eorgeWright
Forum, Edited by Charles A. Birnbaum and Sandra L. Tallant. Vol. 13, No.   1,   1996, 104 pgs.

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Making Educated Decisions: A Landscape Preservation Bibliography. Edited by Charles A. Birnbaum and Cheryl
Wagner. U.S. Department of the lnterior, National Park Service Cultural Resources, Preservation Assistance,
September t994, r6o pgs.

Preservation Brief #36; Protecting Cultural Landscapes: Planning, Treatment and Management of Historic
Landscapes. U.S. Department of the lnterior, National Park Service Cultural Resources, Preservation Assistance,
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The Landscape Universe: Historic Designed Landscapes in Context, Edited by Charles Birnbaum with a paper
contribution. The National Park Service with the Catalog of Landscape Records in the United States at Wave Hill,
1994,12o pgs.

Thematic lssue, CRM. Focus on Landscape Interpretation. Edited by Charles Birnbaum and Robert Page, )uly't994,
48 pgs.

trPreserving Contemporary Landscape Architecture:           ls Nothing Permanent But        Change ltself" Landscape
Architecture, May1994.

rrCultural Landscape Preservation: New Challengesfor
                                                     Honesty and Accuracy,ttTraditional Building News, April r994,
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                                                      Learn From Preservation Efforts in Poland," LAND, March
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and Project Director. September 1993, 160 pgs.

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'f
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                                                  in the Making" LAND,Volume 35, No.4, July/August 1993, pp.
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Cultural Resource Management, April r993.

rrVolunteers: A Resourceil, Landscape Architecture, March
                                                          1993, pp. 58-59.

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Developing a Rehabilitation Planting Plan for a Historic Designed Park, Charles A. Birnbaum, ASLA. AWorkbook
commissioned by the National Association of Olmsted Parks, funded by the Warhol Foundation, Summer r992.

trThe Greenway For Tomorrow'r, t989 lnternational Greenway Conference Proceedings, The Appalachian
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Albemarle Park and Samuel Parson's Vision, Charles A. Birnbaum, Albemarle Park Manor 6rounds Association,
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                                                            Newsletter, p. 8-9, Fall r989.

rrAnalysis& Planning: Designed Historic Landscapesrr, Make No Little Plans;
                                                                            Handbookof Abstractsforthe r989
Conference of the Association of Applied Preservation Technology, Chicago, lllinois, r989.



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Suggestions and Strategiesfor Brackenridge Park, San Antonio, TX, May 2o16.

Copitol ParkTowers: Preliminary Landscope Recommendations for o Dan Kiley Designed Landscape,Washington, D.C.,
November zot5.

ManagingChange atlnnisfree: Preliminary Recommendationsfor aNationallySignificontCulturalLandscape, Millbrook,
NY,   August zot5.

White Paper: Cheekwood Botanical Gordens, Nashville, TN, 2o15.

Technical Review f or the Smithsonian Institution's South Moll Campus' Cultural Landscape Report,Woshington, D.C.,
March zor5.

Technical Review for o ProposedWelcome Center for the Breakers in Newport, R,, August 2013.

Santa Borbara Botonical Gardens: Cultural Londscape Guidelines. Consultant to Van Atta Associates, June 2012.

TheVillageGreenfTheCreen Villoge, a white paper on guiding change at the National Historic Landmark, Baldwin Hills
Village in Los Angeles, CA, -lanuary zo1z.

ManagingChongeatPeavey Plaza, Minneapolis, MN: A Foundotionfor ChangeandPreliminoryGuideline5 Consultant to
Oslund and Associates, March zot.

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Paper, January zott.

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TheDignity of Restraint:A 5tudytoPreserveandEnhancetheUniversity of North Corolina'sMojesticTreeLandscopein
Chopel Hill, Hoerr Schaudt Landscape Architects, Charles A. Birnbaum, zoo8.

KittingaCottage, Campus, Community Collage, Reynolda Museum,Winston-Solem,         N.C.,   StrategicWhitePaper, zoo8.

CranbrookCultural LandscapeReport, Bloomfield Hills, Ml, SasakiAssociates with the University of Michigan School
of Natural Resources, October zoo5.

University of California at Berkeley, Cultural Landscape Report, Sasaki Associates, 2oo3.

LANDSCAPES, Patricia M. OrDonnell, Charles A. Birnbaum and PRE/view, Stuart Sachs, with consultants David
Schuyler, Theodore Haskell, Christopher Greene, Hartford Park Master Plan, for the City of Hartford, March r992.

Birnbaum, Charles A., Van Cortlandt Mansion and Grounds. Bronx, New York. Preservation Needs Assessment, New
York City Park & Recreation, Historic House Trust, t992.

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National Historic Site, Cultural Landscape Report: History, Existing Conditions, Analysis, for NPS, North Atlantic
Region, t992.

LAN DSCAPES, Patricia M.  O'Donnell, Charles A. Birnbaum, Zane Grey Family Retreat, Preliminary Cultural Landscape
Assessment,   for   NPS Mid-Atlantic Region, Upper Delaware Scenic and Recreational River and Short and Ford
Architects.

LANDSCAPES, Patricia M.     O'Donnelland Charles A. Birnbaum, Eaglers Nest, the Estate of William Kissam Vanderbilt
ll, tgto-t944, Historic Landscape Report and Preservation Phasing Plan, TheVanderbilt Museum, Centerport, New
York, t99o.

LANDSCAPES, Patricia M. OrDonnell and Charles A. Birnbaum, Rehabilitation of Martin Luther King Park Pool,
Buffalo, New York, Historic Landscape Research and Existing Historic Fabric Report, Department of Community
Development, Buffalo and Reimann.Beuchner Partnership, r99o.

LAN DSCAPES, Patricia M.   OrDonnelland Charles A. Birnbaum, Guidelines forthe First Priority Rehabilitation Project:
Polly Pond and Surrounding Landscape, Vegetation Cuidelines: Management and Renewal, Schematic Design
Guidelines: Built Elements and Furnishings, Management Plan: History Alternates and Proposal, Andrew Jackson
Downing Memorial Parl Newburgh, New York, Downing Park Planning Committee, r99o.

The First Historic Landscape Report for the Perimeter, Prospect Park, Brooklyn, New York, Walmsley & Company,
December t989 (final draft).

V{hittinghamltreet5.-eap-e, a detailed community design manual, Fall, t989.

Syracuse Historic Landscape Management & Maintenance Cuidelines, Draft, August 1989.

Emerald Necklace Master Plan, Olmsted Historic Landscape Program, Boston Massachusetts, June r989 (final
draft).

Syracuse Historic Landscape Resources Survey, Syracuse, New York, April r989.

Springside National Historic Landmark, Poughkeepsie, New York, April r989.

Fairmount Waterworks lnterpretive Esplanade, A 6uide for Future Planning & lmplementation, r988.



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Long Range Guidelines and Design lmprovement Program for Lake Washington Boulevard: Working Papers, EDAW,
lnc. with Walmsley & Company, lnc. t988.

The First Historic Landscape Report for the Ravine, Prospect Park. Brooklyn, New York, r986.

East River Esplanade, Area z: to3rd - tz5th Streets, New York City, and East River Esplanade, Area r: 59th - Tznd
Streets. New York Citv. tq8s.

City Hall ParK New York, "Planning for the Future of a Historic Landscaperr, September r985.



                                                        SELECTED CONFERENCE PAPERS AND PRESENTATIONS

Annual Alumni Lecture, "Design with Culture," Michigan State University, September zor7.

Keynote, Regional ASLA Annual Meeting, "Authenticity and YOU," Austin, TX, April zo17.

Landscape Architecture Lecture Series, Rhode lsland University, "Design, Historic Preservation and Cultural
Landscapes," Bristol, Rl, April zor7.

Panel Discussion exploring Modernist lnsertions in Public Landscapes, AIA New York City, April zor7.

Joint presentation with Laurie D. OIin, FASL\ "Lawrence Halprin: Personal Reflections and a Strategy to Safeguard
the Legacy," National Building Museum, Washington, DC, February zor7.

"Why Not Cultural Systems" University of Guelph, Landscape Architecture program, Guelph, Canada, November
20't6.

Keynote Speaker, Amersfoort, Holland, "Dynamic Culture in Our Parks" September zor6.

Landscape Pleasures zor6, The Parrish Art Museum, Water Mill, NY, rr June zor6.

Plenary Keynote, Park Without Borders: ldeas for the Next Generation of Urban Parks and Public Space, Tishman
Auditorium, The New School, NYC, NY, z4 May zo,t6.

Opening PlenaryAddress: Leadingwith Landscape ll: The Houston Transformation, Houston Museum of FineArts,
March zor6.

Balboa Park Centennial Lecture Series: Balboa Park and the Future of Urban Cultural Parks, San Diego History
Center, 17 September zor5

Opening Plenary Address: Second Wave of Modernism lll: Leading with Landscape, Toronto, ON, lsabel Bader
Theatre, May 2015.

The lnfluence of the ltalian Villa Landscape on Carden Design and Landscape Preservation in America, Yizcaya,
Miami, FL, May zor5.

Keynote Speaker, Garden CIub of America Annual Meeting, Rochester, NY, May zor5

Opening Plenary Address: The Nature Culture Divide lll: Saving Nature in a Humanized World, The Presidio of San
Francisco, San Francisco, CA, January zor5.

Opening PIenary Address: Civic Horticulture, Philadelphia, PA, May 2o13.




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Opening PlenaryAddress: The Nature Culture Divide and the Central ParkWoodlands, New York City, NY, October
2012.


The ltalian Design Influence on theAmerican Country Place Era Estate Landscape, Hillwood Museum and Gardens,
Washington, D.C. May zotz

Keynote Address, Garden Week, Cummer Museum of Art, Jacksonville,             Fl   March zorz

Opening Keynote: Historic Preservation, Design and Civic Ambition, Historic Districts Council, New York City, NY,
March zorz.

An American Perspective on Cultural Landscapes, Design and Historic Preservation. The Technion Univeristy, Haifa,
lsrael, December zott.

Keynote Address for SCUP (Society of College and University Professionals): Managing Change at our Historic
University Campuses, Washington, D.C. November 2o11.

The Second Wave of Modernism in Landscape Architecture, the Museum of Modern Art, New York City, NY
November zott.

Modernism and Postmodernism in Los Angeles, Opening Address for Shaping the American Landscape Regional
Conference, SciArch, Los Angeles, CA, May zorr.

Paul Bayard Memorial Lecture, Columbia University, April zoro.

Keynote Address, Garden History Society of the United Kingdom, Liverpool, UK, July zoo8.

Jane Silverstein Ries Memorial Lecture, Denver, CO, April zooT

Bradford Sears Memorial Lecture, College of Environmental Design & Forestry, Syracuse, NY, March zooT

Change, Continuity & Historic Preservation, Chautauqua Summer Lecture Program, Chautauqua, NY

Cultural Landscapes: Balancing Change, Continuity and Patronage. lsabella Stewart Gardner Museum, Boston, MA,
April zoo6.

The lnfluence of the ltalian Villa on the American Country Place Era Garden and What This Means to their
Management Today. Frankliniana Lecture, Keynote, South Eastern Flower Show, Atlanta, GA,20o6.

Cultural Landscapes, Continuity and Civic Ambition, Cincinnati Museum of Art, November zoo5

The American Academy Experience as a Progenitor of a Nature-Culture Stewardship Ethic, Rome ltaly, September,
2Oo5


Keynote Address: The Waterfront Center, Annual Meeting, Milwaukee, Wl. "Landscape Preservation, Authenticity
and our Nation's Waterfronts," October zoo4.

Plenary Address: National Trust   for Historic Preservation, Louisville,   KY. Reflections on twenty years of practice,
October zoo4

Keynote Address: Can Authenticity and Economics Meet along America's Main Streets, State Preservation
Conference, Santa Rosa, CA, May 2oo2.

Keynote Address: Moving Beyond the Picturesque, Landscape Preservation Post-Fred (Olmsted), State Preservation


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Conference, Massachusetts Historical Commission, Amherst, MA, April zooz.

Preserving Modern LandscapeArchitectureinAmerica, lnvitational Meeting, UNESCOWoTId Headquarters, Paris,
France, September zoot.

Two-Day Workshop: Protecting Cultural Landscapes. Developed and ran intensive two day course on sublect.
Washington, DC (t999); Los Angeles, CA (zooo) and Providence, R.t. (zoor)

Preserving Cultural Landscapes: Overview of American Strategies and Typologies, Lisbon, Portugal, zoor.

Design with Culture: The Colonial Revival and Landscape Architecture, University of Virginia, zooo.

Preserving Mid Western Landscape Architecture, Lecture and Mobile Workshop, Chicago, lL, 20oo.

Strategies for Preserving Cultural Landscapes, at the Group for lntegral Development, Havana, Cuba, r998.

Preserving the Landscape Legacy of Thomas Dolliver Church, University of California at Berkeley, r998.

Olmsted Outside of the Subject Matter: A Critical Analysis of the Viewing Olmsted Exhibition, Harvard University
Graduate School of Design in concert with the Wellesley Museum, r997.

Preserving Modern Landscape Architecture, Lecture and Panel Discussion sponsored by the Municipal Arts Society,
New York, t997.

Protecting Cultural Landscapes, three regional papers sponsored by the Alliance for Landscape Preservation in
Memphis, TN;5alt Lake City, UT; and, Omaha, NE, 1997.

The Future of the California Landscape, a lecture sponsored by the California Preservation Foundation, Los Angeles,
CA,   r996.

American Strategies for Landscape Preservation, Porto, Portugal, t995.

Preserving Traditional Cultural Landscapes, Honolulu, Hawaii, r995.

Balancing the Treatment of Historic Landscapes and Landscape Archaeology Concerns, Session Manager,
Strawberry Hill, Twickenham, U.K., 1995.

"Preserving Modern Landscape Architecture," at Preserving the Recent Past, Chicago, lllinois, r994.

"The Preservation of Landscapes in Relationship to Other Historic Resources,'r Restoration 93, Boston, MA, 1993.

'rThe Treatment of Landscapes in the United States,'r an American Polish Workshop, Warsaw, Poland, r993.

Defining A Preservation Ethic for the Treatment of Parks and Gardens, lnternational Parks Conference, Montreal,
Canada, t993.

rrLandscape Preservation in the gors: The
                                          End of the Period for Period Landscapes." Benjamin Howland Memorial
Lecture, University of Virginia, r993.

"Landscape Maintenance and Preservation Planning,r' National Historic Landscape MaintenanceWorkshop, Atlanta
History Center, Atlanta, CA.

rrThe   Treatment of Rural Landscape Resources,rr Point Reyes National seashore, cA,,t993.



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               APPENDIX        1-   CURRICULUM VITAE OF CHARLES A. BIRI\BAUM


"Defining the Landscape Universe for Historic Designed Landscapes,r'Wave Hill, t993.

rrReading the Victorian Landscaperr, Victorian Society, Carthage, MO, 1993.


"The Treatment of Historic Cemeteries and Burial Crounds,rf panel discussion for the Popular Culture Association,
New Orleans, 1A,1993.

Historic Landscape Preservation Symposium, t992. Conference developmentand paperpresentation; I'PlayingWith
Time: The Treatment of Historic Landscapes," Washington, D.C. 1992.

"Historic Landscape Maintenance Workshop,rr NPS/Carden Center of Cleveland, Cleveland, Ohio, t992.

"Landscape Preservation and the Historic Site Manager,rr Mid Atlantic Museum Association, Staatsburg, NY, 1992

rrThe Hermitage; A Case Study        of Restoration Potential,tt   Ho-Ho-Kus, New Jersey, sponsored by the Garden
Conservancy, t992.

ItHouse...and Garden,tt ASLA Annual Meeting, Kansas City, Missouri, r99r.

rrThe    Treatment of Historic Landscapes,rr National Trust for Historic Preservation, San Francisco, California, r99t.

ff
     Historic Landscape Preservation,rf Paca Memorial Library, Asheville, North Carolina,lggl.

'rls it Restoration?il National Park Service, Preservation Challenges for the t99os. Panel Discussion, Washington,
D.C., 1990.

rrTomorrowrs Historic Landscape: Landscape Management lssues and Approaches,rr Panel Discussion, ASLAAnnual
Conference, Orlando, Florida, r989.

ilThe GreenwayforTomorrow,rr Paper Presentation,rrParkways,
                                                             Greenways, Riverways, TheWay More Beautiful,'r
The Appalachian Consortium, Asheville, North Carolina, 1989.

rrAnalysis and Planning: Designed Historic Landscapes," Panel Presentation.
                                                                            Applied Preservation Technology,
Chicago, lllinois, r989.

rrNew Approaches to Historic Landscape lnterpretation: Exploring
                                                                 lnnovative Projects," Presentation, ASIA/N         PS
Historic Landscape Preservation Symposium, Seattle, Washington, r988.

"Frederick Law Olmstedrs Emerald Necklace,rrMobileWorkshop, lnternational Federation of LandscapeArchitects
(IFLA), Boston, Massachusetts, r988.

"Neighborhood Park Planning and the Historic Landscape, for The Friends of the Park and the Chicago Park
Commission, Chicago, lllinois, t988.


I'Cultural Landscape Workshop,tt Preservation League          of New York State - Fifteenth Annual        Preservation
Conference, Syracuse, New York, t988.

frPublic Parks and Town Commons,rr Panel Presentation, Historic Landscape
                                                                          Symposium, University of Amherst,
Amherst, Massachusetts, 1988.

rrCurrent Waterfront Projects,rt Panel Presentation,
                                                     New York City Chapter, A5l-A, Urban Center, New York City, New
York, t988.



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"The Planning Consultant and Their Relation With The Public Agency and Not-For-Profit CIient to Achieve Successful
Master Plan Results,tt Panel Presentation, National Association for Olmsted Parks. Louisville, Kentucky, t987.




                                                                                   PROFESSIONAL AFF!LIATIONS

Co-Chair US lnternational Commission of Monuments & Sites (ICOMOS), Historic Landscape Committee, r996-1999
Chair, American Society of Landscape Architects, Historic Preservation Open Committee, 1995-1997
Co-Chair, National Association of Olmsted Parks, t996-t997; Vice Chair t994-t995;zooo-
Board of Directors, Washington Architectural Foundation, 1995-1997
Board of Directors, Jens Jensen Society, Chicago, lll,l994-t997
Board of Directors, Alliance for Historic Landscape Preservation, 1994-1997

                                                                                              SELECTED 6RANTS

Lilly Endowment, TCLF What's Out There lndianapolis, zotT
National Center for Preservation Technology & Training, What's Out There optimization, (TCLF) zorT
National Endowment for the Arts, Art Works, TCLF Halprin Exhibit, zot6
National Endowment for the Arts, Art Works, TCLF What's Out There Virginia, zor3
National Center for Preservation Technology & Training, What's Out There project, (TCLF) zorz
National Endowment for the Arts, Art Work, TCLF What's Out There Maine, 2orz
National Endowment for the Arts, Design Arts, TCLF Pioneers Oral Histories, zorr
Hubbard Educational Trust, TCLF Pioneers Oral Histories (Richard Haag) zorr
National Endowment for the Arts, Design Arts, What's Out There proiect (consortium grant with Maine Historical
Society) zoto
Richard H. Driehaus Foundation, What's Out There project, (TCLF) 2o1o-2o13
National Center for Preservation Technology & Training, What's Out There project, (TCLF) zoog
National Endowment for the Arts, Design Arts, for Pioneers Oral History modules (TCLF) zoog
National Trust for Historic Preservation, Evans Hughes Memorial Preservation Fund, Dodge Jones Foundation
Intervention Fund (TCLF) zooS
National Endowment for the Arts, Design Arts program, Pioneers Oral Histories (TCLF) zoo8
Richard H. Driehaus Foundation, What's Out There proiect, (TCLF) 2o07
Beverly Willis Architecture Foundation, Landscape Legends Oral History lnitiative, (TCLF) zoo6
Design Arts, National Endowment for the Arts (Birnbaum, Principal lnvestigator), zoo5
Samuel H. Kress Foundation (Birnbaum) zoo4
Furthermore, A Program of the JM Kalpan Fund (TCLF) zoo4.
The Hubbard Educational Trust (TCLF), zoo4.
The Graham Foundation (TCLF) 2oo4
Design Arts, National Endowment for the Arts (Birnbaum, Principal lnvestigator), zoo3
Rudd-McClure Joint Ventures (CLF, Birnbaum, Executive Producer), zooz
Design Arts, National Endowment for the Arts (Birnbaum, Principal lnvestigator) zoor.
Max & Victoria Dreyfus Foundation (Cultural Landscapes as Classrooms) zooo.
Richard H. Driehaus Foundation (Cultural Landscapes as Classrooms) zooo.
The Joyce Foundation (Cultural Landscapes as Classrooms) zooo.
The Craham Foundation (Cultural Landscapes as Classrooms) zooo.
The Graham Foundation (Preserving Modern Landscape Architecture Proceedings) r998.
The Hubbard Educational Trust (ASLA/NPS), r996.
NPS Cultural Resources Training lnitiative (ASLA/NPS), 1996.
National Centerfor Preservation Technology and Training (ASLA/NPS), r995.
Furthermore, A Publication Project of the JM Kaplan Fund, (Wave Hill and Birnbaum), r995.
The Kress Foundation (ICOMOS and Birnbaum),1995.
The 6raham Foundation (Pioneers of American Landscape Design) r994.
New York State Council on the Arts, (Wave Hill and Birnbaum), rygq.
The Hubbard Educational Trust (Wave Hill and Birnbaum), r994.


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           APPENDIX       1-   CURRICULUM VITAE OF CHARLES A. BIRI\BAUM

The Hubbard Educational Trust (National Trust for Historic Preservation and Birnbaum),:993.
Ralph Hudson Environmental Fellowship, Landscape Architecture Foundation, r992.
National Trust for Historic Preservation, Preservation Services Fund (NPS/ASLA), r992.
The Graham Foundation, (Wave Hill and Birnbaum),1992.
New York State Council on the Arts, (LANDSCAPES), r989, r99o.
The Marion Stedman Covington Foundation (Birnbaum)




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  BRIEF OF THE CULTURAL LANDSCAPE TOUNDATION AS AMICUS CURIAE
   IN OPPOSITION TO THE DEFENDANTS'MOTION TO DISMISS THE CASE



                                        APPENDIX 2

  A letter, dated December 10, 2012, from the Illinois Historic Preservation Agency to the
  U.S. Army Corps of Engineers regarding a prospective project in Jackson Park
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            APPENDIX 2- LETTER FROM ILLINOIS HISTORIC PRESBRVATION AGENCY



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Pet.er Bulloek
Department af Th* Army
U"S. Ar,my Corp* of Sngineers
Chicagc District
LLL !{$rth Canal Street, $uit.e                            600
Chicaga, IL 60606
Dear Mr. Bullock:
Thank you for request.j.ng com:nents fronft our office concerning the po*sible effecbs of
the project referenced above on cultural resources. Our cosmert,s are required by
$ection 1"06 of ihE Nalional Historic Preservation A(t af 19SC {16 USC 470ll, as
anrended. and its impl"emenLing regulations. 35 CFfr. 800: I'FroLection of HisLoric
ProperLiesn. Jackeon Park llist.orie tandscape and !.lidway Plaisance were entered into
thc $ational &egister of Historj.c Flaees on Oecember L5 , L972.
?fc ]rarre rewierrred Lhe preliminary concepf plans for bhe e<:$glrs*erfl rc$f$ra*.ian projecL
and have bhe fol"]"owing comr*ent,$;
1". &$ currsnLly designed, t-he park retaine a greaf dea]" c:f ihs] intts$r*.ty- Whi]a
sone of the original fa*atures have been modifiqd, or remowed, lhe remaining defining
cha,ractsrj-stics such as tshe overall plan devoloped by 0lmst.ead, Olmst.ead. and rllior
as depict,ed on Lhe 1905 map musf be respected, These include, but a.re not Limited
to, the Golden Lady ataEue/ the Osakx Garden, the curenl roadway configuration, the
beach house, and tha ccnfiguration of ahe lagoons"
2. We supporl the rehabilitation of some of the p).ant,ings l"ocaLed within the golf
course, but would f ind Lhe inLroduction ef neu r.rat,er features and,/or wetlands ta be
an adverse effect.
3. We support tshe effore Lo retai$ and enhance the lagoon slroreliues and the
addition, or re*esbabJ"ishment, of isl-ande within Lhe lagoons so ).ong as t.hey reflect,
the ccnfJ"guration of islaads in the 1.905 plan, we also support the re-esrablishment
of communicaLLon between the warious lagaons and take Michigan.
4" We aleo support, the re*introduction and,lor enha:rcement of planLings using
Olmsted's 1896 planb ll"sl.
                                                                            Appendix 2-            1
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          APPENDIX 2- LETTER FROM ILLINOIS HISTORIC PRESERVATION AGENCY




We look forrsard to working trith the Chicago *orps of Engineers, Lhe Chicaga Park
Dixtrict,, and our preservatlon partn*rfi on thin complex nnd w*rrthy proJect and will
ravierr itemn as guJ.ckly as possibLe as speclfic asBecls of the proJeet ar* proposed,
If you have guestions please    corxtacE David   'J. Halpin. Cultural R*sourcss ldariagerr at.
2t7 -78,5-4998.

Sincerely,

C^^rr".'e-[- 3=t         o-g-kt{
Anne E. llaaker
Depuey $tale llistorie
       Pr€servat*on Offieer
AEII




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   BRIEF OF THE CULTURAT LANDSCAPE FOUNDATION AS AMICUS CURIAE
    IN OPPOSITION TO THE DEFENDANTS! MOTION TO DISMISS THE CASE



                                        APPENDIX 3

    An historical assessment of Jackson Park prepared by the Chicago Park District in 1995
Case: 1:18-cv-03424 Document #: 73 Filed: 01/15/19 Page 41 of 72 PageID #:2017
APPENDIX 3- CHTCAGO PARI( DTSTRTCT ASSESMENT OF JACKSON PARK (199s)



Julia Sniderman Bachrach
Dept. of Research and Planning
Chicago Park District
Prepared Sept. 1995

                                      )ackson Park
                                    Design Evolution

Creation of South Park Commission

In 1869, after several years of lobbying by prominent south-siders, the Illinois State
Legislature approved a bill establishing the South Park Commission. A five member
board was given the authority to improve and maintain a L055 acre parcel, then located
in townships just south of Chicago, as a public park. The nationally renowned
designers, Frederick Law Olmsted and Calvert Vaux, who had previously designed
New York's Central Park, were hired to lay out a comprehensive plan for the new park,
then known as South Park.

Original South Park Plan

South Park was envisioned as a landscape with two large sections linked together by a
boulevard which Olmsted named the Midway Plaisance (middle garden). The Eastern
Division, a 593 acre area adjacent to Lake Michigan,later became known as Jackson
Park, and the Western Division was a 372 acre area that was later renamed Washington
Park (Olmsted & Vaux, Chicago South Commissioners Plan of: South Open Ground, lJpper
Plaisance, Midway Plaisance, Open Ground, Lagoon Plaisance and Parkway Quadrant, L871).

Olmsted often incorporated a site's natural attributes into his designs, however, he
considered the conditions of Chicago's unimproved park site "extremely bleak."
(Olmsted 1893:22,19). He asserted that "if a search had been made for the least park-
like ground within miles of the city, nothing better meeting the requirement could have
been found" (ibid). The most "obvious defect of the site" was viewed as "that of its
flatress" (Olmsted & Vaux, Chicago South Commissioners Plan of: South Open Ground,
Uppu Plaisance, Midtttay Plaisance, Open Ground, Lagoon Plaisance and Parktuay Quadrant,
187\.

Olmsted found the Eastern Division area particularly "forbidding," with sand bars that
had formed in the lake, boggy swales, and ridges covered with "vegetable mold"
(Olmsted 1893, XXII 2,19). He did however, interpret Lake Michigan as the site's
greatest advantage. He suggested that there was:

        "but one object of scenery near Chicago of special grandeur or
        sublimity, and that, the lake, can be made by artificial means no more
        grand or sublime. By no practical elevation of arfficial hilIs, that is



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APPENDIX 3- CHICAGO PARK DTSTRTCT ASSBSMENT OF JACKSON PARJ( (r99s)



       to say, would the impression of the observer in overlooking it be
       made greatly more profound. The lake may, indeed, be accepted as
       fuIly compensating for the absence of sublime or picturesque
       elevations of land" (Olmsted 1871).

Olmsted's design compositions generally combined "sublime" and "beautiful" areas
(Beveridge 1977). In the original plan for South Park, Olmsted relied upon the
"sublime" style in his design for the Eastern Division by linking to Lake Michigan a
system of rugged, heavily planted channels and lagoons. Had the plan been
implemented, these waters would have flowed into a formal channel extending the
length of the Midway Plaisance and then into smaller ponds in the Western Division. In
the Western Division, which later became known as Washington Park, Olmsted
articulated the "beautiful" style through the use of a large open sheep meadow.

Delays in Implementing the South Park Plan

Olmsted and Vaux submitted the South Park plan and accompanying report to the
South Park Commission lr.187'1,. Five months later, much of Chicago was devastated
by the Great Fire. \Atrhile the South Park land was not affected by the fire, the
Commission's downtown office was destroyed. Among the documents that burned
was a "nearly complete assessment roll, which was to assign holders of property
adjacent to the park their share of park costs" (Ranney 1972,32). Progress to improve
the park "was suspended and all employees except a small police force were
discharged" (ibid).

As the city began recovering from the destruction of the fire between the early and mid-
1870s, the South Park Commission slowly began improving the Western Division of
South Park. Problems in acquiring much of the land for the Eastern Division caused
additional delays in improving this section. By \875, when the Eastern Division was
renamed Lake Park, it remained unimproved (South Park Commissioners 1874-75,6).

Eastern Divisiony' Lake Park's Earliest Improvements

During the late 1870s, work was done to improve the northernmost part of Lake Park
including grading, spreading manure, seeding lawns, and planting trees. In addition,
two artificial lakes were created. One of the two lakes was located on the northwest
corner of the park. Oblong in configuration and crossed by a masonry bridge, this
waterway was called the "twin lakes" (Andraes 1889,1,69). During the winter, when the
lake was frozenit was used for skating.

The second arfficial lake is the water body that later became the Columbia Basin. This
lake had little relationship to the corresponding water area on Olmsted's 1871 plan. It
had a simple, irregularly shaped configuratiory with a broad beach at its northern end,




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APPBNDIX 3- CHTCAGO PARK DISTRTCT ASSESMENT OF JACKSON PARK (1995)



 and mowed lawn at the surrounding edges (n.a. Map Shouing Progress Made in the
 lmprouement of the Eastern Diaision of South Park,1880). In the center were two islands
 with rocky edges (photo, lackson Park Pond,1888). In 1880, a masonry and iron bridge
 was constructed across the artificial lake's southern end. Some of the original masonry
 is believed to be part of the existing Clarence Darrow Bridge (photo, Vieu of Art Building
from World' s F air Bridge, 1895).

The improvements in Lake Park were immediately popular. The picnic grounds were
used by large numbers of people. Boating was offered in both arfficial lakes. In 1881,
Lake Park was officially renamed Jackson Park, in honor of Andrew ]ackson, eleventh
president of the United States.

By the early 1880s, lakeshore erosion was already a problem. A breakwater was
constructed, and the beach was paved along Lake Michigan from 56th St. to 59th St.
between 1882 and 1884 (South Park Commission Annual Report L884,22). The granite
pavers were extended southward to 61st St. between 1888 and 1890 (South Park
Commission Annual Report 1890, 15). During the late 1880s and early 1890s the long
stretch of paved beach became a popular promenade space for strolling and birycling.

Two buildings were also constructed in the park during this period. One was a large
shelter at 56th St. near the lake, which was designed by Danie1 H. Burnham. (During
the World's Columbian Exposition, this structure was adapted for use as the Iowa
Building.) The second structure was a ladies comfort station located to the east of the
artificial lake with the two islands (which later became the Columbia Basin). Both
structures were constructed of light colored rusticated stone. (The ladies comfort
station is the oldest extant building in ]ackson Park).

World's Columbian Exposition

When Chicago won the honor of hosting the World's Columbian Exposition in L890,
Frederick Law Olmsted was asked to help select the site for the fairgrounds (South Park
Commissioners 1889-90,14). After much controversy, ]ackson Park was selected, and a
general outlay for the fair was jointly developed by consulting landscape architects,
Olmsted, and his associate Henry Codman, and consulting architects, Daniel Burnham
and John Welborn Root (Hines1974,77). ln a paper read to the World's Congress of
Architects, which met in Chicago several months after the official opening of the
World's Columbian Exposition, Olmsted explained that:

       "...a crude plot, on a large scale, of the whole scheme was rapidly
       drawn on brown paper... The plof formed in the manner described,
       contemplated the following as leading features of design: That there
       should be a great architectural court with a body of water therein; that
       this court should serve as a suitably dignified and impressive entrance-




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           hall to the Exposition, and that visitors arriving by train or boat should
           all pass through i! that there should be a formal canal leading
           northward from this court to a series of broader waters of a lagoon
           character, by which nearly the entire site would be penetrated, so that
           the principal Exposition buildings would each have a water as well as
           land frontage, and would be approachable by boats..." (World's
           Columbian Exposition Report of the Director of Works 1892, 4-5).

This scheme continued to be followed, even after John Welborn Root's death in L891,
and Burnham's appoinbnent as Chief Consulting Architect for the Fair.

As conceived by the design team, the Court of Honor was a hard-edged basin flanked
by monumental Beaux Arts style buildings. The focal point was Daniel Chester
French's Statue of the Republic at the eastern end. Like the Fair buildings, the monument
was made of a type of plaster known as staff. The figure was gilded, except for its arms
and face which were exposed white staff.

East and West Lagoons and Wooded            Island

The Court of Honor was the most formal area of the Fair's landscape. Contrasting with
this formality, the east and west lagoons were rugged and naturalistic. Other than the
straight-edged terrace extending from the Horticultural Building on the west side of the
West Lagoon, the edges of both lagoons were irregularly shaped and planted with
masses of low shrubbery and grasses. In the center, between the two lagoons was the
Wooded Island. There were also some very small islands scattered around the large
Wooded Island, particularly at its south end.

The Wooded Island was formed by the re-shaping of some of the site's natural ridges.
Olmsted wanted the Island to have a "secluded, natural sylvan" character (World's
Columbian Exposition Report of the Director of Works 1892,5). He asserted that the
intention was:

           "to have what has since been called the Wooded Island, occupying a
           central position, held free from buildings and all objects that would
           prevent it from presenting, in connection with the adjoining waters,
           a broad space, characterized by calmness and naturalness, to serve
           as a foil to the artificial grandeur and sumptuousness of the other
           parts of the scenery" (Olmsted 1893, XX[:2,20).

       there was only one year's time for plantings to mature, Olmsted achieved a
14trhi1e
wooded character by incorporating the site's scattered groups of existing native oaks
into the design. Olmsted added other fast-growing plantings. The existing oak clusters
served:




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APPENDTX 3- CHTCAGO PARK DISTRICT ASSESMBNT OF JACKSON PARK (1995)




       "...as centers for such broad and simple larger masses of foliage as it
       would be practicable to establish in a year's time by plantations of young
       trees and bushes. Because the water in the lagoons would be subject to
       considerable fluctuations, it was proposed that its shores should be
       occupied by a selection of such aquatic plants as would endure
       occasional submergence and yet survive an occasional withdrawal of
       water from their roots" (World's Columbian Exposition Report of the Director
       of Works1892,5\.

The designers' intention was to keep the island free of buildings and retain it as a
natural-looking "horticultural preserve," however, many of the exhibitors wanted to
construct on the island, and "Burnham received numerous petitions" for building
permits there (Hines 1974,108). Pressure for additional exhibit space became so great
that Olmsted and Burnham "became convinced that it would be impossible to
successfully resist these demands" (Olmsted 1893: 44,194). Of all of the proposals for
exhibits on the Wooded Island, Olmsted believed that ones that would have the "least
obtrusive and disquieting result" were a temple proposed by the Japanese government,
and floral display to coincide with Horticultural Hall (O1msted 1893, XXII:2,20).

North Pond and Fine Arts Building

The irregularly shaped artificial lake that had been created in the park in the late 1870s
was converted into the northernmost section of the lagoon system (Department of
Works, Map of the Buildings I Grounds of the World's Columbian Expositioa 1893). This
was called the North Pond and later known as the Columbia Basin. As part of the Fair
plans, this was conceived as the water frontage setting for the Fine Arts Building, a neo-
classical style structure designed by Charles Atwood.

In preparation for the Fair, the two islands were removed and the North Pond was
dredged. Much of the shape of the pond remained the same. A small section of the
southwest side of the pond was filled to create the area for the Illinois Building
(Burnham, Map of the Buildings I Grounds of the World's Columbian Exposition,1893). The
entire pond had a strongly defined edge, much of which was composed of mowed lawn
adjacent to the water (photos, Fotgrafiske Billeder of Verdensud Stillingen of Midzoay
Plaisance,1894). The north side of the pond was reconfigured from beach edge to a
formal terrace which extended from the Fine Arts Building into the water. This was the
primary facade of the building, and the water became a dramatic reflecting pool, and
provided access for boats (Appelbaum 1980).

In contrast to the more naturalistic and rugged east and west lagoons adjacent to the
Wooded Island, the North Pond was consciously conceived as a water setting for the
monumental Fine Arts Building (Olmsted 1893:41). Olmsted was disappointed with
the construction of the numerous smaller pavilions surrounding the pond. He asserted



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that most of these buildings were sited without his consultation, and were placed in a
manner that "intercepted vistas and disturbed spaces intended to serve for the relief of
the eye" (Olmsted, 1893:41\.

After the Fair

The World's Columbian Exposition closed in October of 1893. The intent had always
been for the fair to be temporary, and beginning in January of 1894 a series of fires
destroyed many of the buildings (Appelbaum 1980, 107). Later that year, the Chicago
Wrecking and Salvage Co. was hired to demolish most of the buildings that were still
standing. One of the few exceptions was the Fine Arts Building, which had been built
with a more permanent internal structure than many of the other buildings. It had a
fire vaulted interior because it housed such an important collection of artworks during
the fair. Towards the end of the World's Columbian Exposition, prominent Chicagoans
decided to memorialize the event by creating a "Columbian Museum" (Commission on
Chicago LandmarksL994,18). A one million dollar donation by department store
magnate Marshall Field made it possible to purchase anthropological artifacts that had
been exhibited at the exposition. The Fine Arts Bldg. became the "Field Columbian
Museum" (Commission on Chicago Landmarks 1994, l8).

The other buildings that remained after the Fair were the German Building, the Iowa
Building, La Rabida and the Ho-oh-den (the Japanese Temple on the Wooded Island).

Redesign of |ackson Park L894-1906

Early in7894, Frederick Law Olmsted's landscape design firm, then known as Olmsted,
Olmsted, and Eliot, b"g* working on a re-design plan for ]ackson Park. The South
Park Commissioners did not want the park to be "shorn of all the beauty that the
World's Fair bestowed upon it" (n.a. Park and Cemetery 1895,20). In fac! the intent was
to create a "beautiful park" that would retain "many of the feafures characteristic of the
landscape design of the World's Fair" and also provide "all of the recreative facilities
which the modern park should include for refined and enlightened recreation and
exercise" (n.a. Park and Cemetery 1895,20).

In 1895, Olmsted, Olmsted & Eliot's Revised General Plan for Jackson Park was
completed. Between that date and19O6, the entire park was improved. The majority of
the work followed the plan, however, there were some modifications. The most notable
was the addition of the golf course in 1899.

The Olmsted Olmsted & Eliot plan included "three principal elements of the scenery"
for Jackson Park, "the Lake," "the Fields," and "the Lagoons" (O1msted, Olmsted & Eliot,
Reoised General Plan for lackson Park,1895). Olmsted sent an eight page report to South




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APPBNDIX 3- CHTCAGO PARK DISTRTCT ASSESMENT OF JACKSON PARJ( (1995)



Park CommissionJoseph Donnersberger on March'1,0,1895, further describing these
plans principal elements.

The Lake Shore

Olmsted asserted that the "finest thing about the Park is unquestionably the view of
Lake Michigary which is obtained from the shore" (Olmsted A39:20,698). Lake Shore
Drive was intended as the major feature allowing broad views of the Lake for people
walking, driving and riding. The Drive was conceived in Olmsted's original 1877 plan.
A paved beach and promenade were constructed along the edge of the Lake between
1875 and 1890. These elements remained during the World's Columbian Exposition.
The initial construction of Lake Shore Drive commencedin1894, after the Fair, in
accordance with the Olmsted, Olmsted and Eliot's redesign plan.

Following the redesign plan, Lake Shore Drive extended from the northern boundary of
the park, passing southward between the Museum and the beach, across a bridge over
the North Inlet at 59th Street. The Classical style limestone bridge was designed by D.
H. Burnham and Co., and strucfural engineer C.L. Strobel, who was a noted bridge
designer and "pioneer in skyscraper construction" (Sarring 7993). Constructed in L895,
the North Inlet bridge was designed in a manner very similar to the World's Fair Bridge
that it replaced.

Olmsted intended for Lake Shore Drive to extend to a "terminal circle" just north of the
South Inlet (approximately located at 63rd St.) He did not want the Drive to cross over
the South tnlet (which was the mouth of the South Haven, now considered the Outer
Harbor), because he thought it was more important to keep the Inlet open to boats
entering from the lake (Olmsted to Donnersberger March 10,1895, A39: 698). At the
north end of the South Inlet, between the western edge of the South Flaven and eastern
edge of the South Lagoon, Lake Shore Drive then corurected with a road which followed
" a gentle curve about three fourths of a mile in length" (Olmsted to Donnersberger
March 10,1895, A39,698). The curved road was historically considered South Haven
Drive or Harbor Drive, and also referred to as Coast Guard Drive after ttre South Park
Commission agreed to allow the U.S. Coast Guard to build a life saving station on the
west side of the South Haven Ln7904. The South Flaven Drive extended over a granite
bridge designed by architect Peter J. Weber, who won a competition sponsored by the
South Park Commission. The Classical style bridge, with whimsical bas relief
ornamentation on both the east and west elevations, was constructed in 1904. ]ust
south of this bridge, the South Haven Drive connected with South Road, which was
later renamed Marquette Drive.




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APPENDIX 3- CHTCAGO PARK DTSTRTCT ASSESMENT OF JACKSON PARK (1995)



System of Lagoons

The Olmsted, Olmsted & Eliot redesign plan included a system of interconnected
lagoons, which provided a sequential series of changing landscape scenes, as well as
access by boats throughout the entire waterway. An 1895 article describing the plan
explained that:

      "The water effects have been amplified and diversified and the system
      of lagoons, extending as it does in its varied design the entire length of
      the park, will present waterscapes of infinite variety and beauty as
      well as afford the most liberal facilities for boating and aquatic
      pleasures" (n.a. Park and Cemetery 1895,20).

Olmsted emphasized the importance of the lagoon system as a place for boating in a
April10,1894letter to Joseph Donnersberger. Olmsted wrote that Lake Michigan could
not well accommodate rowing, but that the lagoons within the park were sure to
become popular for this activity. He suggested that Jackson Park would become "the
finest domestic boating park in the world" (Library of Congress, 433:806).

The abiJity to create a changing sequence of landscape scenes was one of the most
brilliant aspects of the 1895 Olmsted, Olmsted, and Eliot plan. In a letter to the South
Park Board Presidentloseph Donnersberger dated May 7,1894, Olmsted emphasized
the importance of the different treatments within the design composition. He asserted
that in order to "devise a comprehensive general design" each part of the "park must be
planned subordinately to and dependently upon every other part" (Library of Congress,
A:34:79). Olmsted suggested that, "In this interdependence of parts lies the difference
between landscape gardening and gardening. It is as designers, not of scenes but of
scenery, that you employ us, and we are not to be expected to serve you otherwise than
as designers of scenery" (ibid).

The formal Court of Honor and a small adjacent lagoon of the World's Fair grounds
were replaced by the South Haven (outer yacht harbor) and South Lagoon. These
simple water elements emphasized the visual and physical connection with Lake
Michigan while also providing access for boats. The South Lagoon narrowed at the
north and flowed under the Center Bridge (later considered the Hayes Drive Bridge).
Constructedir.l902, the red granite bridge had a simple elliptical arch with clearance of
fourteen feet above the water level, allowing adequate space for the passage of boats.

The water areas north of the South Lagoon and south of the Wooded Island were the
most rugged-looking,lush and densely planted portions of the lagoon system. Known
as the North and South Bayous, these were intricate areas of water and land. ]ust north
of the North Bayou were the East and West lagoons, which had simpler edges, but also
included dense shrub plantings on the waters edge. The West lagoon was widened and




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its west bank made more naturalistic than the formal terrace that had extended from
Horticultural Hall during the Fair (photo, Appelbaum 1980, 56).

The Olmsted, Olmsted and Eliot also plan included two boat houses on the edge of the
West Lagoon. The "principal station for rowboats and canoes" was "designed to be
placed in the cove just north" of the Midway Plaisance (Olmsted to Donnersberger A21:
702). lust south of the Midway was the "principal electric launch station" (ibid.). Both
of the boating structures were designed by D.H. Burnham & Co. and were Classically
inspired. The principal station for rowboats and canoes was constructed in 1896 and
the electric launch station was construction in 1906. Composed of two brick pavilions
and center launch area, this utilitarian structure was tucked along the western edge of
the lagoon. (Today, the launch station is extant, however, the principal boat station no
longer remains).

The East and West lagoons had numerous small islands that were also heavily planted.
Between the East Lagoon and the North Inlet there was a bridle path bridge called the
Music Court Bridge, because it led to the formal music area to the north. Constructed
between 1904 and 1906, the granite bridge had three arched openings with moveable
gates. The gates were meant to help regulate the fluctuations in water levels of Lake
Michigan, and allow the inner waters to be frozen for skating during the winter.

Olmsted, Olmsted and Eliot's treatment of the area north of the East and West Lagoons
was the most formal of the entire lagoon system. This was due to the decision to retain
the Fine Arts Building as the Field Columbian Museum.

Area Surrounding Field Columbian Museum

The legend of the 1895 Olmsted, Olmsted and Eliot plan states that, "Contrasting with
the rest of the park, the neighborhood of the vast building of the Field Columbian
Museum is designed upon formal lines for the sake of architectural harmony." Olmsted
explained the importance of a landscape treatment that would emphasize the museum
building:

      "All other buildings and structures to be within the park boundaries
      are to be placed and planned exclusively with a view to advancing
      the ruling purpose of the park. They are to be auxiliary to and
      subordinate to the scenery of the park. This Art Building is to be on
      a different footing. Plantations, waters, roads and walks near it are
      to be arranged with a view to convenience of communication with
      the Building; with a view to making the Building a dominating
      object of interest, and with a view to an effective outlook from it,
       especially over the lagoons to the southward" (Olmsted to
       Donnersberger, May 7,1894, Library of Congress, A34:152).




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A formal circuit drive encircled this area which included the museum building,
symmetrically arranged depressed lawn panels to the north, and the North Pond to the
south. The circuit drive had simple formal terminal circle elements on the east and west
axis, and crossed the bridge dividing the North Pond from the East and West Lagoons.

In the 1895 Olmsted, Olmsted, and Eliot plan, the North Pond was shown as a formal,
hard- edged basin. The Olmsted fum had been conferring with Charles Atwood, the
architect of the Fine Arts building, who was advising the South Park Commission on its
adaptation for use as the Field Columbian Museum. In a letter to Supt. j. Frank Foster
dated September 17,1894, Olmsted stated that Atwood had "always hoped that this
basin might be treated architecturally," but that it was understood at the time that South
Park Commission was "not in possession of the funds to be directed to such a purpose"
(Olmsted to Foster, 9ept L7,1894, A36:19,124). Thus recommending an informal basin
design, the Olmsted firm developed a scheme that left the area largely as it had been
during the Fair (Olmsted National Historic Site, Planting Plan #54, Oct. 15,1894). The
overall design philosophy for the area was articulated through the simple, irregular
configuration of basin and its surrounding landscape of mowed lawn and scattered
trees and shrubs framing views of the monumental building.

]ust southeast of the circuit drive was another formal element, the Music Court, which
was also conceived as part of the Olmsted, Olmsted and Eliot plan. This "place
especially designed for the gathering of crowds about a band stand" was composed of a
semi-circular area for a band stand with two outer semi-circular paths pierced by
diagonal paths ( Olmsted to Donnersberger, March 10,1895,704). The surface was
meant to "gently descend towards the music stand, as in an amphitheater" ( Olmsted to
Donnersberger, March 1"0, L895, 704). The paths were lined by formal rows of trees to
shade the area. The Music Court was "intended to be lighted after dark and kept
always open" (Legend accompanying Revised General Plan for Jackson Park, 1895).

The Fields

The fourth major element of the 1895 Olmsted, Olmsted and Eliot plan was the fields.
These green lawn areas were meant as a contrast to the lake shore scenery, lagoon
scenery, and formality of the museum area (Olmsted to Donnersberger, March 10,1"895,
703). The fields included an outdoor gymnasia area at the park's western perimeter, a
tennis lawn meadow just west of Lake Shore Drive, and a large playing field at the
southwestern section of the park.

\zVhen proposed  in L895, the men and women's outdoor gymnasia were feafures that
were relatively new in the United States. Olmsted reported that "similar gymnasia
proved very successful in Europe and in Boston" (Olmsted A39:20,704). The plan




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included two oval shaped areas, one for men and one for women. Both were encircled
by running tracks. Between the two areas was a playground for children.

The outdoor gymnasia area was one of the first sections of in Jackson Park to be
improved following the adoption of the Olmsted, Olmsted & Eliot plan. The gravel
used for grading and surfacing the outdoor gymnasia were taken from the World's Fair
walks (SPC Annual Report 1894-5,8). Soon after the outdoor gymnasia were opened to
the public, the gravel running tracks began to be used as bicycle tracks (Report of SPC
1895,9).

The lawn tennis area was located between the North and South Inlets, west of Lake
Shore Drive. This was an oblong meadow space on which temporary lawn tennis nets
were placed. In 1899, the South Park Commissioners decided thatlackson Park would
include the fust public golf course. According to Tom Govedarica, author of Chicago
Colf: The First 100 Years, this was the "first golf course west of the Alleghenies opened to
the public" (199L,58). The initial t hole course was placed at the southern end of the
lawn tennis field.

The Olmsted, Olmsted and Eliot plan for the park was modified to include a second golf
course in 1900. (The degree to which the Olmsted firm was involved in this effort is
unknown). This second course, which had eighteen holes, was added to the park's
southern perimeter and the playing field at the southwestern part of the park. The
playing field was conceived as a sixty acre great meadow. The broad green lawn which
had "room for ball games of all kinds" was easily adapted for golf (Olmsted to
Donnersberger, March 10, L895, 703). \Alhen the playing field was first improved for
golf in 1900, the project included the construction of a brick golf shelter building. (At
the time, the other t hole course also remained).

Popularity of Recreation and Sports 1906-1918

By 1906, Jackson Park's new recreational amenities were intensively used. Though golf
was very new to Chicagoans, jackson Park's courses were already extremely popular.
During the golf season of L906, a total of 87,500 people played on the eighteen hole
course and 4O000 played on the nine hole course (SPC 1906 Annual Repor! 35). On
Fourth of July, the busiest day of the year, 1400 people played on the eighteen hole
course/ and 900 people played on the nine hole course during that day (ibid).

        Due to the large number of people who played gof, the golf course shelter
underwent two major additions within the first few years. The first was constructed in
1903 and the second was constructed n1907. The first project added lockers for the
players and a lunch counter. The second project a large addition to the east, matched
the brick and Spanish tile roof of the original building. This addition included 7(X) new
Iockers, shower baths for men and women, and an extension of the lunch counter.




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There was "no charge for lockers, towels or soap,rr and the "use of the links" was free (
SPC Annual Rept. 1906-8,   M).

        The popularity of golf continued to grow. During the 1911 season, a total of
70,000 people played on the nine-hole course and a total of 140,000 players used the
eighteen-hole course (SPC Annual Rept. \972,25). In1912, a second golf shelter was
constructed in the eighteen hole course. Located by the ninth hole, the new shelter was
sited by the Olmsted Brothers (successor firm of Olmsted, Olmsted and Eliot) (B files-
Library of Congress, May 23,1911). Designed by D.H. Burnham and Co., ttre Classical
style building was constructed of exposed aggregate concrete with a Spanish tile hipped
roof. Its center open loggia, with men's bathrooms on one side and women's on the
other, allowed for beautifully framed views of Lake Michigan.

        In addition to wonderful views, Lake Michigan was valued as an important
recreational asset to ]ackson Park. Swimming became increasingly popular after the
1899 completion of Chicago's innovative Drainage Canal, allowing for the diversion of
sewage/ which had previously been emptied into Lake Michigan (Mayer and Wade,
7969,274). By 1908, the South Park Commissioners were discussing plans to extend the
beach, and construct a large building to be located near the proposed Casino building of
the Olmsted, Olmsted, and Eliot plan. (There was also the earlier Casino building of the
World's Columbian Exposition, that had existed in nearly the same location). The South
Park Commissioners consulted with the Olmsted Brothers in 1908 on the design and
layout of the new beach area. The Olmsted Brothers recommended that two new
buildings be constructed; a Casino restaurant as had previously been proposed and a
new bathing pavilion structure (Olmsted Bros. to Henry Foreman, Sept.. 6,1908,8
Files). This proposal would allow "that a suitable view may be obtained up and down
the shore from the balconies of the building" and would "provide suitable
accommodations for refreshment as well as shelter and meet the demands of the public
for parties and other free, suitable, entertainment" (SPC 1908, p. 15).

       Ir.19'J,4, a general plan for Jackson Park that was created   by South Park
Commission in-designers included the bathing beach extension. This plan included
only one building for the new beach; the bathing pavilion. Following this general
scheme, South Park Commission in-house architects developed plans for a Classical
style building with open loggias and center courtyard spaces tn1977. The ten acre
beach extension was filled 1n1916 and1-917. Restrictions on building materials during
World War I delayed completion of the building until1919.

World's Columbian Exposition Remnants        L918-1,933

In honor of the twenty-fifth anrriversary of the World's Columbian Exposition and the
Centennial of Illinois statehood, a smaller version of the Republic sculpture was erected
in Jackson Park. The piece was purchased through remaining proceeds from the




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World's Fair combined with some funding from the B.F. Furgeson Fund. Daniel
Chester French, the artist of the original monument was commissioned to sculpt the
commemorative versiory and the architect Henry Bacon was selected for the design of
the pedestal and plafform. The gilded bronze sculpture was2L'tall, while the gilded
plaster original was 65' tall.

The triangular traffic island on which the monument was erected had previously been
considered as the location of two proposal. During the mid- 1890s, this location was
considered as a possible location for the Logan Monument. The Olmsted, Olmsted, and
Eliot firm argued against this suggestion, as they did not believe a war monument was
appropriate anlrwhere in Jackson Park (A47 reel,947-954). Later, tn1910, the Olmsteds
consulted the South Park Commission on the placement of a flagpole in Jackson Park,
and the triangle island was considered again. The Olmsteds suggested that the "little
triangle, considering its informal planting and location and the scale of its immediate
surroundings, would seem too trivial to serve as a dignified base for the flagpole" (B
files-Olmsted Brothers to Henry G. Foreman, Aug. 18, 1910). It is likely that the
Olmsted Brothers were not involved in the placement of the Statue of Republic.
Apparently, the decision to erect the monument on the triangle island was made
because this had also been the location of the monumental Administration Building
during the World's Fair (Park and Cemetery 1918,198).

Although the new Statue of the Republic reminded Chicagoans of the signfficance of the
World's Columbian Expositior; two of the remaining original Fair buildings were
destroyed during the 1920s. After the World's Fair, the Spanish Building, which was a
replica of La Rabida of Palos, Spain was retained as a sanitarium for sick babies.
Beginning in 1895, the hospital was opened during the summer season of each year. In
1918, the facility closed down due to a shortage of nurses during wartime (Jackson Park
Sanitarium Year Book 1927-28,31). The building, which had been intended as a
temporary structure, had fallen into a terrible state of disrepair, and was destroyed by
ftre tn1922.

A raised seating area, named Convent Hill, was constructed on the original site of La
Rabida 1ln1924. In the latel920s, there was a proposal to build a new La Rabida
structure to be located south of the original building. Despite some objections from the
community, legal permission was granted to the La Rabida Jackson Park Sanitarium to
construct the new hospital. Designed by Graham, Anderson, Probst and \zVhite, the
Mediterranean Revival style building was constructed n1932.

The second World's Fair Building that was destroyed in the 1920s was the German
Building. After the Fair, the German Building had been retained as a restaurant. The
Olmsted, Olmsted, and Eliot plan anticipated that eventually it "would become
necessary to abandon the temporary restaurant in the German Building," and suggested
its replacement with the proposed Casino Building on the beachfront. The German




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Building did received some rehabilitation work, including the construction of new toilet
rooms in 1911 (SPC Annual Rept 1911,-12,13). The building fell into a terrible state of
disrepair and burned down n1925. A bowling green and club house building were
placed on the site of the German Building n1927. The brick Revival style club house
was designed by South Park Commission architects. In1931., an addition was
constructed at the southwest side of the building.

Like the other two World's Fair buildings, by the late1920s the original Fine Arts
Building was in severely deteriorated condition. The collections that were housed in
the building after the Fair were moved to ttre newly constructed Field Museum of
Natural History in Grant Park in 1920. Prominent individuals and organizattons were
discussing proposals to renovate the original Fine Arts Building for a number of years.
In1926, ]ulius Rosenwald, chairman of Sears, Roebuck and Co. proposed the re-use of
the Fine Arts Building as an industrial museum that would highlight new scientific
discoveries (Commission on Chicago Landmarks, Jan. 5,1994,22). The idea was
supported by the Commercial Club of Chicago. 111927, Rosenwald traveled through
Europe with two members of the South Park Board visiting museums of science and
technology.

The architectural firm of Graham, Anderson, Probst and White was responsible the
exterior restoration of the museum, which was completed in 1930. The interior work,
which corunenced in 1930 was designed by Shaw, Naess and Murphy, a fum of three
architects who had previously worked for Graham, Andersory Probst, and White. The
interior work included notable features executed in the Art Deco style. By the time of
Rosenwald's death in1932, he donated over 7 million dollars to the project
(Commission on Chicago Landmarks, Jan. 5,1994,22).The opening of the Museum
coincided with the 1933 Century of Progress, Chicago's second World's Fair, which was
held in Burnham Park.

VVPA Improvements 1935-L941

By the mid- 1930s, all twenty-two of Chicago's independent park comrLissions were in
financial turmoil due to the Great Depression. Access to federal funds encouraged the
consolidation of the numerous park commissions into the Chicago Park District 1rr7934.
Between 1935 and 1941, more than one hundred million dollars of government funds
were devoted to projects within Chicago's parks.

M*y    of the \ fPA- funded improvements emphasized modernization, convenience and
increased recreational benefits. In addition, a significant amount of work was also done
to improve and rehabilitate park landscapes. Jackson Park projects fell within all of
these categories, and were all designed by Chicago Park District in-house staff. They
included the construction of a passerelle over Lake Shore Drive and inlet bridges in the
golf course; five new buildings; and landscape work including the rehabilitation and




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minor alterations to the Columbia Basin,   a major   replanting of the Wooded Island, and
the creation of the perennial garden.

Passerelles were constructed at various intervals over Lake Shore Drive to provide
pedestrian access across the eight lane roadway. The 62nd St. passerelle, a steel
structure with Art Moderne details was completed in 1936. An identical structure built
at67thst. in the early 1940s was later removed. Two small bridges were also
constructed in the golf course tnl936. These stone footbridges with wood handrails
provided pedestrian access over the inlet streams in the southern part of the goU course.

Jackson Park's five new buildings included two comfort stations, two combination
shelter/comfort stations, and a maintenance/service yard building. All were all
designed by E.V. Buchsbaum, a Chicago Park District in-house architect who had
previously worked for the South Park Commission. Buchsbaum had originally
designed Jackson Park's frame Colonial Revival style comfort station for the South Park
Commission in 1933, however, it was not built at the time due to the lack of funds. In
1935, the proposed building was constructed at the landscape triangle on the lakefront
at 59th St. This comfort station was moved north on the beach near 57th St. in 1949.
The other comfort station was constructed in the children's playground at the western
perimeter of the park in 1936. This building was identical to the frame structure in
terms of plan, massing, and scale, and had similar details. It was executed in lannon
stone, however, and was considered the English Stone style version.

The two larger shelter structures were composed of the same kind of lannon stone as
the English Stone comfort station. One of them, a structure that was square in plan with
a small open courtyard at the center, was located just northeast of the Museum of
Science and Industry. This project included the demolition of the 1880s masonry
structure that had been used as the Iowa Building during the 1893 World's Columbian
Exposition. The Museum of Science and Industry donated $20,000 towards the
construction of the new building, which is also considered the Iowa Building (CPD
Annual Rept. 1936,26). A sculpture known as the Garden Figure which was cast in
plaster by Frederick Cleveland Hibbard for a 1930 art exhibit at the Merchandise Mar!
was modeled in marble in 1940 for placement in the Iowa Building's open courtyard.
Construction delays, however,led to its installation in the Lincoln Park Conservatory.

The other combination shelter/ toilet facility was constructed in the area which had
included the nine-hole golf course. To provide greater recreational opportunities, the
nine-hole course was removed and replaced with a running track and ball fields and a
new parking lot in 1936. The combination shelter was identical to a ball field structure
constructed in Lincoln Park. Composed of random ashlar masonry and half-timbering,
the building is T-shaped in plan, with an enclosed office, bathrooms, and a roofed open
shelter area.




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The maintenance/service yard building was constructed in 1936, on the park's western
perimeter, just south of 64th St. This site had been designated as the service yard on
Olmsted, Olmsted and Eliot's 1895 plan, and an L-shaped shed structure had existed at
this location since 1900. The WPA project included the demolition of the historic sheds
and construction of a one story brick buitding with a rectangular plan flanking and
open service yard area.

The landscape work in ]ackson Park that was funded by the \ fPA was also designed
and implemented by Chicago Park District staff members. It included a planting
program throughout the park, with a particularly large number of trees and shrubs
planted on the Wooded Island. The planting design of this period tended to be
characterized by dense massings of understory trees such as hawthorns, crab apples,
and dogwoods. The these species were compatible with the Olmsted, Olmsted, and
Eliot palette, however, the 1890s design used understory trees more sparingly, as
scattered accent points rather than heavy masses.

Additional work on the Wooded Island included the installation of the Torii Gate and
Japanese Tea House which had been exhibited in Burnham Park for the 1933-34 Century
of Progress. This project included the installation of a new Japanese Garden. The
Japanese pavilion known as the Ho-o-den which had existed on the Wooded Island
since the L893 World's Columbian Exposition received some rehabilitation work. In
addition, the World's Fair Rose Garden received a major replanting.

A new perennial garden was also created n1936. Placed in Jackson Park at the junction
of the Midway Plaisance between Stony Island Ave. and Cornell Dr., the large circular
sunken garden was incorporated into an existing circular recessed lawn panel. That
lawn element followed the form that had been shown as a formal water basin in
Olmsted's 1871 original plan as well as the Olmsted, Olmsted and Eliot 1895 plan. The
sunken lawn panel remained in the center of the garden. Simple retaining walls of
stratified limestone were added, as well as limestone steps down to the lawn panel. The
perrenial beds were placed at grade surrounding the circular lawn panel. An outer
border of shrubs gave the perrenial garden a sense of enclosure.

Jackson Park's WPA landscape projects also included work on the Columbia Basin and
surrounding site. Conducted between 1937 and 1940, the project included minor
cutting and filling to the basin resulting in some reconfiguration (Chicago Park District,
lacksonParkRosentttaldMuseumLagoonFill,Marchg,lgST, Revised: March21,1938). This
included filliog the northeastern portiory slight fiIling on the west side of the basin, and
some cutting to enlarge the Columbia Basin at the northwestern corner to meet the edge
of the building. There were also some plantings added to the landscape surrounding
the basin (Chicago Park District, Jackson Park Landscape Design for Columbian Eine Arts
Bldg.occupiedby Museumof Science andlndustry.May,1938, Revised: March,1940). By




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the end of 7940, most of the historic views of the museum were either intact or
reinstated.

Alterations and Additions 1946-1986

During the post World War II period, labor and material costs were high and steel
allotments continued to be restricted by the government. The few projects that were
done in Jackson Park during this period tended to focus on pragmatic ways to increase
recreational uses of the park. There was little interest or concern for the park's historic
integrity. Between 7946 and 1950, the south lagoon's west shoreline was reconfigured
and the remaining islands were removed to provide more access for boaters. As a
means of providing better access to the 57th beach, a simple utilitarian passerelle was
constructe d 1n1949 across Lake Shore Drive. In addition, the existing 59th St. comfort
station was moved north to the 57th St. beach at that time. In 1953, the fust of
numerous expansions was added to the LaRabida hospital building. Unfortunately,
most of these additions reflected an interest in Modernism rather than relating to the
original 1932 building.

As funding became more available in the mid-to-late 1950s, the functional and
recreation-oriented approach to projects continued. A fieldhouse had been proposed
for Jackson Park since the late 1890s, however, this idea was not realized until1957. The
brick Modern style building was designed by Ralph Burke, a consulting engineer who
had previously been a member of the Chicago Park District Engineering Dept. staff.
The fieldhouse was sited on the west perimeter of the park at 65th St. south of the
maintenance yard and outdoor gyrmasium area.

1n1956, when the federal goverrunent installed a NIKE missile site in Jackson Park's
lawn tennis area, the running track and a number of ball fields became off limits to park
users. To make up for the lost recreation space/ the Chicago Park District fiIled in the
north and south bayous and created a large ball field meadow. This project destroyed
the physical and visual interconnection of the water system. In addition to the project's
negative impact on the historic landscape, it included the demolition of the two historic
bridges that spanned south over the bayous from the Wooded Island. A non-
ornamental bridge was constructed over the remaining water area to the Wooded
Island tr.1957.

Another important historic structure was demolished n1962. This was Classical style
Burnham-designed boathouse at the north end of the west lagoon which was originally
constructed in 1896. 1n7964, the historic japanese bridge that spanned from the north
side of the Wooded Island was razed. It was replaced with a utilitarian structure that
was identical to the one that was constructed at the south end of the Island. In1977, the
Wooded Island was designated as the Paul Douglas Nature Sanctuary. Landscape
maintenance practices were minimized so that volunteer growth would attract




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migratory birds. The Wooded Island has become one of Chicago's premier spots for
bird-watching, however, the lack of pruning and removal of volunteer plants has had a
negative impact on the historic landscape. Efforts are now being manage the area as
both a natural habitat and a designed landscape.

In1978, the Chicago Park District constructed a goU driving range in the area that had
historically been the lawn tennis area and then the nine-hole golf course. In the late
1930s, ball fields and a cinder running track were placed in this area, however, they
were not accessible during the period in which the NIKE site installation was in the
park between 1956 and1971.. By the late7970s, community members had hoped that
this area of the landscape would be restored. Much of the area, however, was
converted into a golf driving range that required the installation of nearly a thousand
lineal feet of chain-link along its two sides between the east lagoon and Lake Shore
Drive. Just north and west of the driving range, an area of prairie plantings known as
Bob-o-link meadow was planted.

Some of the most major impacts to the historic integrity of ]ackson Park were caused by
traffic engineering projects conducted in the late 1970s and early 1980s. The southern
end of the circuit road around the Museum and Columbia Basin was closed, and the
roadway sections that connected it with Lake Shore Drive at the east and Cornell Drive
at the west were removed. Another significant alteration was the removal of some of
the curved sections of the southwest corner of the Marquette Drive circuit and
construction of new angled sections of road. This included an extension of Marquette
Drive straight to the west through the perimeter landscape. The entire length of Cornell
Drive was substantially widened. The construction of an exit lane for southbound
traffic between Cornell Drive and Stony Island Drive, just to the north of Marquette
Drive, also undermined the historic integrity of the western perimeter landscape. In
1978, the roadway that extended from La Rabida to South Shore Drive was closed and
converted to parking for La Rabida.

Restoration and Rehabilitation 1980 to present

In 1980, an effort to rehabilitate the Japanese Garden on the Wooded Island represented
the beginnings of a new appreciation for ]ackson Park's historic features. In the years
following the destruction of the Ho-o-den ]apanese pavilion h1946, the Japanese
Garden, had fallen into a state of disrepair. In 1980, the Chicago Park District and
Chicago Departrnent of Planning jointly applied for funds to reconstruct the ]apanese
Garden from the Illinois Department of Conservation. Through that agency two federal
grants were secured. Mr. Kaneji Domoto of New Rochelle, New York was
commissioned to work with the Chicago Park District landscape design st#f to develop
a plan for a new Japanese Garden. A new waterfall was constructed and the shoreline
was reconfigured. The plan included a variety of plantings of Japanese character, a new
circular path system, a "Moon Bridge" and a stepping stone bridge. The only remaining




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element of the historic WPA garden was the Kasuga lantern (located outside the
entrance gate). Several other Japanese style granite lanterns were also included in the
new garden.

The Japanese Garden was formally dedicated in 1981. The Japanese Garden was
renamed the Osaka Garden 1n1992 to commemorate the 20th anniversary of Chicago
and Osaka as members in the Partner City program and their new status as Sister Cities.
1n7994, a new formal entry gate was designed by Kobayashi & Associates of Seattle and
hand-crafted by lohn Okumura of Chicago. The Chicago Park District replanted the
Japanese Garden in 1995.

Several projects that were done to a higher lever of historic authenticity have taken
place during the 1990s. The first was the result of a terrible fire in 1988 that destroyed a
substantial portion of the US Coast Guard Station. The sections of the building that
were destroyed were reconstructed, and entire building was restoration. The project,
which was conducted by the Chicago Park District architectural design staff won a1990
Paul Cornell Award for Historic Preservation.

In honor of the 100th anniversary of the World's Columbian Expositiory the Statue of
the Republic was restored and rededicated 1n1993. The monument, which had
originally been installed in honor of the 25th anniversary of the World's Fair in L918,
had been regilded several times. By the early 1990s, however, it was in dire need of
conservation. The Chicago Park District sculpture conservator was responsible for
removing the remaining gilding and corrosion products. The monument was then re-
gilded by Gotd Leaf Studios of Washington DC.

Another recent rehabilitation project that has achieved a high degree of historic
authenticity is the 59th Street Bridge, which was originally designed by Burnham and
Strobel in 1895. Today, the bridge is within the jurisdiction of the City of Chicago. In
1993, the Chicago Department of Transportation hired the firm of Hasbrouck, Peterson,
Zimoch, Siriratfumrong in conjunction with Kevin Lee Sarring, architect to develop a
historic structures report for the bridge. In1994, the bridge was reconstructed. The
project included the reconstruction of the historic lighting fixtures, which had originally
been designed for the 1893 World's Columbian Exposition.

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  BRIEF OT THE CULTURAL LANDSCITPE FOUNDATION AS AMICUS CARIAE
   IN OPPOSITION TO THE DEFENDANTS' IITOTION TO DIS1UISS THE CASE



                                       APPENDIX 4

  A response, dated January 3,2018, to the City of Chicago from TCLF acting in its capacity
  as a designated consulting party to the National Historic Preservation Act, Section 106
  compliance review and the National Environmental Policy Act (NEPA) review underway
  for Jackson Park
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January 3,2OL8

Ms. Abby Monroe
Coordinating Planner
City of Chicago,
Department of Planning and Development


Dear Ms. Monroe,

As a designated consulting party to the National Historic Preservation Act, Section 106 compliance
review and the National Environmental Policy Act (NEPA) review undenruay for Jackson Park, The
Cultural Landscape Foundation (TCLF) is pleased to add the following remarks, supporting images, and
attachments to the public record. As the Section 105 review is now in the initial phase of identifying
historic features that could be adversely affected by the Obama Presidential Center (OPC) and related
road closures, we first ask that the Area of Potential Effects (APE) be expanded to include the following:

    o   The South Park System (to include the entirety of the Midway Plaisance and Washington Park)

It is also evident that other issues should be raised at this early stage because they are not only
fundamental to the identification of historic features but to the review processitsef. While TCLF will
comment in greater detail throughout the Section 1-06 review, we regard the following as essential
topics to be brought to your attention immediately:

    o   The manifest inadequacy of the 1972 National Register of Historic Places nomination for Jackson
        Park and the Midway Plaisance; and the implications of the de focfo nomination update
        produced in 1995 by the Chicago Park District (CPD);
    .   The historical precedence and design intent of the 1895 plan for Jackson Park by Olmsted,
        Olmsted & Eliot;
    o   The need to apply the Secretory of the lnterior's Standards for the Treotment of Historic
        Properties, with Guidelines for the Treatment of Cultural Landscopes in the current review
        process;
    r   The overt incompatibility of the OPC and related road closures with overarching CPD plans and
        initiatives, as contrary to the framing language of the current review process.

Expanding the APE to lnclude the Entire South Park System


As currently conceived in the Section 106 review, the APE includes the following areas: a portion of the
Midway Plaisance near its eastern terminus; an area between the western perimeter of Jackson Park
and the Metra ViaducU several blocks in the Hyde Park and Woodlawn neighborhoods west of the
viaduct; and the whole of Jackson Park. What the current APE thus fails to recognize is the essential
unity of the three tracts of land today known as Washington Park, the Midway Plaisance, and Jackson
Park. The three tracts were conceived and designed as a single park: the report to the South Park
Commission by Olmsted, Vaux & Co., submitted in March 1871, refers, in fact, to the whole of the
bounded area as "The Chicago South Park," which it then describes as comprising an "Upper Division," a
"Midway Division," and a "Lower or Lagoon Division."l As such, Chicago's South Park System is today the
only intact park system designed by Olmsted and Vaux outside the State of New York. The two men
regarded as a major advantage of their plan that it "locks the three divisions of the Park into one



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obvious system, so that their really disjointed character will be much less impressed on the minds of
observers passing through them..." To do so, the plan relied heavily on water to lace the three tracts
together.2 The need to fully recognize the unity of the South Parks is now brought into greater relief by
the current proposal to impose a parking garage at the eastern terminus and hinge point of the Midway
Plaisance, effectively placing a further barrier to the connection that Olmsted and Vaux first envisioned
while simultaneously reducing the likelihood that any future initiative could restore that connection.
Moreover, the OPC tower, as currently conceived, would adversely affect viewsheds from the full
expanse of the Midway Plaisance, not just from the portion of it now included in the APE.


The lnadequacy of the 1972 National Register Nomination; and the De Facto 1995 Update

   The lnadequacv of the 1972 National Reeister Nomination

The City of Chicago website that hosts information on the Section 105 review refers and links to the
listing of the Jackson Park Historic Landscape District and Midway Plaisance in the National Register of
 Historic Places, added on December L5, L972. Notably, that nearly 40-year-old nomination attempts to
 document the history and significance of both Jackson Park and the Midway Plaisance in one
 typewritten page-an extremely meager record by even the laxest of standards .The L972 nomination is
 clearly an artifact of a bygone era that had yet to develop a full appreciation forthe preservation of
 historic designed landscapes (the NPS did not offer relevant guidance in the form of a National Register
 Bulletin until 1989). As much is evident in the nomination's "statement of Significance," which mentions
four architectural firms before coming to Frederick Law Olmsted, Sr., the celebrated presence behind
the design of the historic landscape district itself. We can be sure that the CPD agrees that the 1972
 nomination is today woefully inadequate for use in a documentary capacity, because when the CPD
 commissioned the U.S. Army Corps of Engineers (USACE) to conduct a Section 506 Great Lakes Fishery &
 Ecosystem Restoration Study for Jackson Park in 2013 (resulting in the GLFER Projecq see below), it
 provided a 21-page historical assessment of the park, complete with bibliographic citations, as an
 addendum to the study.3 Prepared by the CPD's own Department of Research and Planning in
September 1995 (hereafterthe'1995 assessment'; attached), that historical assessment constitutes a de
/octo update to the 1972 nomination, and it should therefore be recognized in the current review as an
 important statement of significance for the park and its history.

   The lmplications of the 1995 Update: A Threefold Landscape Legacv

As the l-995 assessment outlines in detail, Jackson Park is today the product of not one, but three
historic Olmsted designs-a fact that makes the already significant work by the "Father of American
Landscape Architecture" a unique national asset. Frederick Law Olmsted, Sr., and Calvert Vaux
submitted the first design to the South Park Commission in 1871. The devastation of the Great Chicago
Fire delayed any improvement to the parkland untilthe late 1870s, when the northernmost section of
what was then called Lake Park was improved by grading, seeded lawns, new trees, and the creation of
two artificial lakes (one of which survives in the form of what would become the Columbia Basin). When
Jackson Park was selected as the setting for the World's Columbian Exposition of 1893, it was once more
Olmsted, working with his associate Henry Codman and architects Daniel Burnham and John Welborn
Root, who designed the setting of the vaunted White City, a showcase of Beaux-Arts classicism whose
formality was artfully juxtaposed with the rugged shorelines of naturalistic lagoons and islands. After the
closing of the international exposition, a series of fires ravaged the site, beginning in January 1894,
leaving a landscape strewn with charred remains (fig. l-). The Chicago Wrecking and Salvage Company
was hired to demolish what was left of the crippled structures, with only five exhibition buildings left


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standing in the end. ln 1895, Olmsted, Olmsted & Eliot presented a sweeping redesign of Jackson Park
that retained "many of the features characteristic of the landscape design of the World's Fai/' while
providing "all of the recreative facilities which the modern park should include for refined and
enlightened recreation and exercise" (fig. 2).4




                                          Fig. 1: Photograph ofJackson Park taken after a series   offires at the site in 1894

The Historical Precedence and Design lntent of the 1895 Plan

The 1895 redesign of Jackson Park by Olmsted, Olmsted & Eliot occupies a special place in the history of
landscape architecture as perhaps the nation's earliest large-scale brownfield-remediation project.
This innovative aspect of the 1895 plan has been recognized in very recent scholarship. As part of the
GLFER Project (see below),   the   CPD, alongwith a public-private partnership known as Project 120
Chicago and the lllinois Historic Preservation Agency, tasked the firm Heritage Landscapes, LLC, to
develop a plan forJackson Park that would integrate efforts to restore the park's ecology and preserve
its Olmsted-era design. ln the fall of 20L5, Patricia O'Donnell and Gregory De Vries, both of Heritage
Landscapes, LLC, published a scholarly article in the peer-reviewed journal Change Over Time outlining
the framework and implementation of that plan.s As the article makes clear, the 1895 redesign of
Jackson Park was an ingenious response-much ahead of its time-to what was in essence an immense
brownfield site:

        Foced with a mossive demolition site, the Olmsted   firm innovated to oddress the
        brownfield conditions. For example, the firm creoted soils plons specifying consideroble
        depth of good topsoil in specific oreos of trees ond shrub plonting. As modern-day
        professionols on the forefront of best proctices, we found it ostounding to discover thot
        one-hundred-twenty-yeor-old soils plons, which note two-foot-deep plonting o reos,
        guided rebuilding in this brownfield demolition site.6

Although features in Jackson Park have since been modified, the most important aspects of the 1895
plan have endured. lts primary compositional elements-the lake, the fields, and the lagoons-knitted
together by a circulation system that affords extended views over relatively level terrain, continue to
communicate Olmsted's vision for how the park is experienced visually and spatially. That assessment
was shared by the 2013 GLFER study, which recognized that "for the most part, Jackson Park today looks
similar to Olmsted's 1895 plan in terms of the placement of lagoons, open fields, and areas heavily


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planted with trees and shrubs." And while Olmsted's plan was updated in 1905, two years after his
death, the new iteration "was based on Olmsted's previous plans and vision forthe park."7

ln addition to the aspects of Olmsted's design that the park itself evinces, we are fortunate to have the
landscape architect's own thoughts aboutthe 1895 plan. ln a letterto South Park Board president
Joseph Donnersberger dated May 7, L894, Olmsted outlined his approach to the redesign:

        ln this design every port of all the pork must be planned subordinately to ond
        dependently upon every other part...ln this interdependence of pdrts lies the difference
        between londscope gordening ond gordening. lt is as designers, not of scenes but of
        scenery, thot you employ Lts, ond we ore not to be expected to serve you otherwise thon
        os designers of scenery (emphasis added).8

Another salient aspect of the 1895 plan that can readily be seen today is the prevailing geometry of the
landscape surrounding the campus of the Museum of Science and lndustry (then called the Field
Columbian Museum) in the park's northern sector. Notably, the landscape treatment in that part of the
park alone was designed to highlight built architecture. Here, Olmsted was unmistakably explicit, stating
that the Field Columbian Museum was meant to be the only "dominating object of interest" in the park:

        All other buildings ond structures to be within the pork boundories are to be ploced ond
        plonned exclusively with o view to advancing the ruling purpose of the pork. They ore to
        be auxiliary to and subordinate to the scenery of the pork (emphasis added).
                                                             -Olmsted to Donnersberger, May 7,1894


                                "*3t'Xr\{}\ l'.\iilr                -t .'

                                                                    'it;.




                                                             Fig. 2: The Revised General Plan for Jackson Park, 1895




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ln addition to the masterful use of the lakeshore, open fields, and interior watenruays, Olmsted designed
two large, open-air gymnasia along the park's western perimeter just south of its junction with the
Midway Plaisance. The two oval gymnasia, one for men and the other for women, were separated by a
children's playground (fig.2l, and both were encircled by running tracks that were also used by
bicyclists. With the initial groundwork completed at the beginning of 1895,s the outdoor gymnasia in
Jackson Park were a reform-era response to the condition of the city's working-class neighborhoods and
were relatively new in the United States.10 Olmsted specifically touted these elements of the overall
design, reporting that "similar gymnasia proved very successful in Europe and in Boston."11 The outline
of the north gymnasium is still expressed in the footprint of the oval football field along the park's
western perimeter (fig. 3), which serves in a recreational capacity while echoing the form of the
Olmsted-designed gymnasium.




            Fig. 3:   North gymnasium, 1895 Revised General Plan for Jackson Park   (1.);   present football field in Jackson park (r.)

Applying the Secretary of the lnterior's Standards for the Treotment of Historic Properties, with
Guidelines lor the Treotment of Culturol Landscopes

The National Park Service's Secretary of the lnterior's Stondords for the Treotment of Historic Properties,
with Guidelines for the Treotment of Culturol Landscopes has a direct bearing on the Section 106 review
currently undenrray. These Guidelines outline the proper treatment of cultural resources that are listed
in or are eligible for listing in the National Register of Historic Places. Landscapes, unlike buildings, are
dynamic systems. Assessing the potential impacts of alterations to landscapes thus requires a holistic
approach, as is reflected in the Guidelines, which are organized in two primary areas: [1] Organizational
Elements of the Landscape and [2] Character-Defining Features of the Landscape. As the author of the
Guidelines,l can confirm that the road closures and the construction of the OPC would have obvious
adverse effects in both primary areas. While TCLF will comment more fully on adverse effects during the
appropriate stage of the Section 105 review (when, perhaps, the exact proposed locations and
footprints of the OPC and its dependent structures will be known to the public), several preliminary
points can be made at this time.

Jackson Park's natural features include the flat topography of its fields and open spaces, its interior
watenruays, and the backdrop of Lake Michigan-all elements that contribute to the harmony of the
overarching design. The flatness of the ground plane is indeed a character-defining feature of the park,
as it was the chief characteristic that Olmsted's design was meant to overcome by linking a system of
lagoons to Lake Michigan.12 The imposition of a massive high-rise tower, hundreds of feet tall, would


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introduce a dominant vertical axis that would reorient the visual and spatial experience of the landscape
to focus on a single architectural element, one whose stark facades, reminiscent of a Brutalist idiom,
would strongly contrast with its natural setting. This is directly contrary to the overall concept of the
park, which was designed, as Olmsted stated, such that its scenery constituted the dominant interest.
The tower would also cast a reflection in the water of the nearby lagoons, which were meant to evoke a
natural setting by reflecting only the vegetation that surrounds them. As scholar Daniel Bluestone has
noted about Jackson Park, "lagoons and lakes that would reflect the foliage provided intricacy and
picturesque variety-elements often tamed in other Olmsted designs."13 Moreover, the waterways
were meant to "provide a sense of indirection, subtlety, and leisure; they fostered a sense of time and
motion that contrasted dramatically with the experience of the city's street grid."la The monolithic OPC
tower would also, of course, Ioom large over the Wooded lsland, destroying its quality as a place of
refuge and its "secluded, natural sylvan" character, as Olmsted described it.1s

Yet another adverse effect of such a tower and its related dependencies stems from their inevitable
propensity to cast shadows onto the public parkland that surrounds them. The detrimental effects of
shadow on public parkland are increasingly well documented16 and are the frequent subject of litigation.
Notably, the "Development Manu                                          (2OL2\" outlines the
responsibility of any applicant proposing a planned development to conduct a "sunlight Access and
Shadow lmpact Study." The manualfurther mandates (p. 13):

        Appliconts should ensure thot the proposed Plonned Development does not impose
        significont shadows on publicly accessible parks, plazos, ploygrounds, benches, or
        inland waterwdys. Accordingly, the Applicant may be requested to provide o shodow
        impact study which would contain the following elements: Existing shodows ond new
        shadows created by the development; Shadow impacts for build and non-build
        conditions for the hours: 9 o.m., 12 p.m. ond 3 p.m., conducted for four periods of the
        year at the vernol equinox, outumnol equinox, winter solstice ond summer solstice; ond o
        description of how the building design ensures solar access on public spaces (emphasis
        added).

How, exactly, the OPC, with its monolithic, stone-clad tower, will avoid imposing significant shadows on
publicly accessible parkland is difficult to imagine. And given that the OPC project falls within the Lake
Michigan and Chicago Lakefront District and is therefore governed by the Lakefront Protection District
Ordinance (Sec.16-4-030),17 whose purpose is to "insure that the lakefront park and the lake itself are
devoted only to public purposes and to insure the integrity of and expand the quantity and quality of
the lakefront parks" (emphasis added), one would expect that the OPC will be subject to particularly
stringent scrutiny.

Furthermore, Jackson Park's western perimeter was designed to be visually permeable, lined with trees
that define the landscape's edge while allowing lightly veiled views into it. The OPC tower and
associated buildings would obstruct views into the park and beyond to Lake Michigan from both the
Hyde Park and Woodlawn neighborhoods, altering the skyline in the process. As currently conceived, the
OPC complex would also entirely supplant the football field whose footprint echoes the original outdoor
gymnasium, an historic feature of the 1895-designed landscape.

Finally, the proposed road closures related to the construction of the OPC would alter the park's
circulation network, an important aspect of Olmsted's design that was intended to lead visitors on a
choreographed journey through "passages" of landscape scenery (fig. a). Neither the location nor the


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disposition of the roads were accidental, their curvilinearform intended to contrast with the right-
angled streets of the urban grid. ln a preliminary report on the nearby designed community of Riverside,
Olmsted wrote, in 1868, "as the ordinary directness of line in town-streets, with its resultant regularity
of plan, would suggest eagerness to press forward, without looking to the right hand or the left, we
should recommend the general adoption, in the design of your roads, of gracefully-curved lines,
generous spaces, and the absence of sharp corners, the idea beingto suggest and imply leisure,
contemplativeness and happy tranquility."18 As with Olmsted and Vaux's Riverside, the curvilinear flow
of the roads in Jackson Park was conceived as a key element in organizing access to the planned scenic
narrative.




                         Fig.4: Horse-drawn carriages and motorcars share the curvilinear roads ofJackson Park, early 1900s

lncompatibility of the   OPC and Road Closures       with Overarching      CPD PIans and     lnitiatives

  The South Lakefront Framework Plan (1999)

Given the framing language of the Section L06 review, another fundamental question is the extent to
which the OPC and the related road closures align with the CPD's long-term initiatives and plans for
Jackson Park, which have been developed with considerable federal, state, and local funding and
resources in consultation with the public and numerous groups. The Citv of Chicago website that hosts
information on the Section 106 review purports to speak to that question, stating the following: "The
Chicago Park District's South Lakefront Framework Plan (1999) outlined many of the proposed
improvements now under consideration." Yet even a cursory review of the 1999 South Lakefront
Framework Plan reveals that the proposals now under consideration are plainly at odds with that plan
on several of its most salient points. First, of the 1999 plan's "Seven Overall Objectives," the fourth is to
"recognize and respect the historic significance of these parks" (p. 1). Likewise, the 1999 plan outlined
"Seven Guiding Principles," the fourth of which is to "maintain open space characte/' (p.2). The plan
goes on to clarify, in bullet points, that this will include efforts to "Promote open space as the primary
land use in the park by seeking opportunities to decrease inappropriate structures, uses and paved


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areas" and to "Maximize the attractiveness of views and long vistas into and within the parks." The
seventh "Guiding Principle" is to "Enhance Historic Features" (p. 3), which includes efforts to "Respect
and enhance each park's historic character, and consider the park's historic significance as a key factor
when evaluating changes to the park," and to "Consider each park's historic precedents for landscape
form, landscape design, planting, circulation, and views when evaluating or designing changes to the
park." The 1999 plan also clearly identifies historic context as a key consideration for evaluating any
changes to Jackson Park:

        Historic Context is an important considerotion os one looks ot upgroding present
        conditions ond weighing future improvements. The original Olmsted design has served
        the parkwell over time and should not be compromised by future plons (emphasis
        added, p. 13).

Suffice it to add that, with its repeated emphasis on the historicity of the South Parks and the Olmsted
design, the 1999 plan does not callfor the closing of Cornell Drive in Jackson Park, nor does it envision a
220-foot-high tower on the park's western flank, or a parking garage at the eastern terminus of the
Midway Plaisance, all of which are related to the current Section 106 review.

   Proiect 120 Chicago: the GLFER Proiect

On June 10,20t4, the CPD and the not-for-profit Project 120 Chicago entered into a Memorandum of
Understandine (MOU)f in order to "memorialize the progress of their collaborative work to date, and
provide greater structure to more efficiently and effectively partner on projects to revitalize Jackson
Park." As the MOU states, a founding precept for the partnership is that Jackson Park is "one of the most
significant and complex historic landscapes in Chicago and the nation." A primary undertaking of the
partnership is known as the GLFER Project, a "historically based and integrated project of preservation
and habitat restoration" in Jackson Park. The MOU goes on to say that in February 2Ol4, "in consultation
with Park District and USACE, Project 120 hired award-wining and internationally recognized
preservation landscape architect and planner, Patricia M. O'Donnell, FASLA, AICP, and herfirm Heritage
Landscapes LLC, to work with Park District, USACE, and other members of the Project 120 Team." As
previously mentioned, in late 2015 O'Donnell and her associate published their findings in a peer-
reviewed academic journal. lt bears repeating that this scholarship is the direct result of work
supported by the CPD, Project 120 Chicago, and the lllinois Historic Preservation Agency. Part of the
published research addressed the GLFER Project's role in reducing the local impact of climate change:

        Noting the importont position of this pork between the lake ond dense urbon oreos to
        the north, east, ond west, the [GLFER] project hos the potentiol to positively impact the
        climote of the South Side oJ Chicogo... As summer temperotures increose, air quality can
        degrode, ond heat woves con chollenge both human health and economic activity. As
        proposed by the GLFER project, improvements in oir ond woter quolity ond the increosed
        density of park vegetotion will act to counterinfluence these projected effects. Whot is
        the relotionship between these potentiol chonges in Midwestern climote ond the work
        currently underwoy ot Jackson Pork? The rebuilding of ecosystems with native
        terrestrial and dquatic plontings improves woter quolity and reduces the urbdn hedt
        island effect. The pork will be o cool refuge that will aid in moderating temperotures in
        the dense surrounding neighborhoods (emphasis added).20

The MOU estimated the total cost of the GLFER Project to be 57 million, with 54,550,000 coming from a
federal contribution and the remaining 52,450,000 as a local match from the CPD and "private parties."

                                             Appendix 4- 8
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                APPBNDIX 4. TCLF'S RT,SPONSE TO CITY OF CHICAGO



With its dual mandate of ecological restoration and historic preservation and its potential to address
issues related to climate change, the GLFER Project would seem to be at odds with more recent plans to
install the OPC in Jackson Park, given that the imposition of massive buildings within the park would
likely negate any gains of the ecosystem restoration in reducing the urban heat island (UHl) effect.

It is also notable that Project 120 Chicago's Jackson Park Framework Plan21 did not envision the closing
of Cornell Drive or Marquette Drive, but rather sought to see that "connectivity to and through Jackson
Park is reestablished." The organization had also undertaken "The Great Lawn Proiect,"22 an initiative to
"restore over 40 acres of historic and graceful open space on Chicago's lakefront" by relocating the
current driving range in Jackson Park to an area south of Hayes Drive. The Project 120 Chicago website
states the following in that regard:

        ln 1978, a driving ronge wos introduced, which is still utilized today, ofter consideroble
        objection from the Hyde Pork ond Kenwood communities. There is o choin link fence
        which surrounds the perimeter of the driving ronge, ond creotes o visuol, as well as
        physicol borrier to the vision and purpose intended by Frederick Law Olmsted
        (emphasis added).

The more recent endeavor of the CPD to consolidate the South Shore and Jackson Park golf courses
includes the expansion of the driving range that Project 120 Chicago had hoped to relocate. Given that
several of the objectives of its long-term initiatives conflict with current proposals related to the OPC,   it
is notable that in August 2016, just days after Jackson Park was announced as the site of the OPC,
Project 120 Chicago changed its "focus," adding the following statement to its website:

         Whot is the Jocus of Project L20 Chicago? Todoy, the South Parks ore once again o ploce
        for grond vision ond innovotion, and an influentiol component of Chicago's South Side
        culturol renaissonce ond resurgence, ond with the oddition of SKY LANDING by Yoko Ono
        ond the Oboma Presidential Library, a morker for peoce among all people ond oll
        nations (emphasis added).

It is also worth noting that the Project 120 Chicago website now appears to be defunct, with the
most recent information having been posted in October 2016.

ln closing, we reiterate that the current APE in the Section 106 review should be expanded to
include the entirety of the South Park System, because Washington Park, the Midway Plaisance,
and Jackson Park were indeed conceived, planned, and executed as a single system, one that as
a practical and cultural resource continues to be greater than the sum of its parts. We also urge
that the fuller assessment of Jackson Park's design integrity and significance, and the
implications that follow from it, be recognized, as well as the duty to apply the highest standards
in evaluating any impact on what is universally agreed to be the irreplaceable inheritance of the
citizens of Chicago and the nation. We thank you for the opportunity to provide these
comments and trust that they will be taken into consideration.

Sincerely,



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Charles A. Birnbaum, FASLA, FAAR
Founder, President, and CEO, The Cultural Landscape Foundation


                                              Appendix 4- 9
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                       APPENDIX 4 - TCLF'S RESPONSE TO CITY OF CHICAGO




cc: Eleanor Gorski, Chicago Department of Planning and Development; Rachel Leibowitz, lllinois
State Historic Preservation Office; Matt Fuller, Federal Highway Administration; Juanita lrizzary,
Friends of the Parks; Margaret Schmid, Jackson Park Watch; Ted Haffner, Openlands; Arleyne
Levee and Lucy Lawliss, National Association for Olmsted Parks; Michael McNamee, Save the
Midway!; Lisa Dichiera, Landmarks lllinois; Ward Miller, Preservation Chicago; Betsy Merritt,
National Trust for Historic Preseruation


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s Report of the South Park Commissioners,
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area with gravel and cinder was completed early in the year, and the running track around the northerly gymnasium was
covered with a thin layer of bank gravel, and has been used for a bicycle track; it is one-quarter of a mile in length."
10 Bachrach (1995), 10.
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1a Eluestone, D. (199L), 44.
ls Bachrach (1995), 4.
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     See: (https://tclf.orelsites/default/files/microsites/landslide2017/themes.html#shadow).
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     See: (htto://librarv.amleeal.com/nxt/eatewav.dll/lllinois/chicagozonine/titlel6landuse/chapterl6-
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LB
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                                                          Appendix 4- 10
